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             Case Nos. 22-5734 / 22-5735 / 22-5736 / 22-5737 / 22-5738

                IN THE UNITED STATES COURT OF APPEALS
                        FOR THE SIXTH CIRCUIT

                             NICHOLAS SANDMANN,

                                                Plaintiff - Appellant,
                                     v.
                          NEW YORK TIMES COMPANY
                             CBS NEWS, INC., et al.
                             ABC NEWS, INC., et al.
                           ROLLING STONE, LLC, et al.
                            GANNETT CO., INC., et al.

                                                Defendants - Appellees.

 On Appeal from the United States District Court for the Eastern District of Kentucky
             Honorable William O. Bertelsman, District Judge, Presiding
Case Nos. 2:20-cv-00023, 2:20-cv-00024, 2:20-cv-00025, 2:20-cv-00026, 2:20-cv-00027


 JOINT BRIEF OF APPELLEES NEW YORK TIMES COMPANY; CBS NEWS,
INC., ET AL.; ABC NEWS, INC., ET AL.; ROLLING STONE, LLC, ET AL.; AND
                     GANNETT CO., INC., ET AL.

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                CORPORATE DISCLOSURE STATEMENTS

      Pursuant to Fed. R. App. P. 26.1 and 6th Circuit Rule 26.1, Appellee The

New York Times Company d/b/a The New York Times makes the following

disclosures:

   1. Is said party a subsidiary or affiliate of a publicly owned corporation? If yes,
      list below the identity of the parent corporation or affiliate and the
      relationship between it and the named party:

      No.

   2. Is there a publicly owned corporation, not a party to the appeal, that has a
      financial interest in the outcome? If yes, list the identity of such corporation
      and the nature of the financial interest:

      No.


      Dated: December 23, 2022                 /s/ John C. Greiner
                                               Attorney for Appellee The New York
                                               Times Company d/b/a The New York
                                               Times




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      Pursuant to Fed. R. App. P. 26.1 and 6th Circuit Rule 26.1, Appellees CBS

News Inc., ViacomCBS Inc., and CBS Interactive Inc. make the following

disclosures:

   1. Is said party a subsidiary or affiliate of a publicly owned corporation? If yes,
      list below the identity of the parent corporation or affiliate and the
      relationship between it and the named party:

      CBS News Inc. is a wholly owned, indirect subsidiary of Paramount Global.

      Paramount Global f/k/a ViacomCBS Inc. is a publicly traded company.
      National Amusements, Inc., a privately held company, beneficially owns the
      majority of the Class A voting stock of Paramount Global. In addition,
      Paramount Global is only aware, without further inquiry, that Berkshire
      Hathaway Inc., a publicly traded company, beneficially owns at least 10% of
      Paramount Global’s total common stock, i.e., Class A and Class B on a
      combined basis, as reported on a Form 13F filed with the Securities and
      Exchange Commission on August 15, 2022.

      CBS Interactive Inc. is a wholly owned subsidiary of Paramount Global.

   2. Is there a publicly owned corporation, not a party to the appeal, that has a
      financial interest in the outcome? If yes, list the identity of such corporation
      and the nature of the financial interest:

      No.



      Dated: December 23, 2022                  /s/ Natalie Spears
                                                Attorney for Appellees CBS News
                                                Inc., Viacom CBS Inc., and CBS
                                                Interactive Inc.




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    Pursuant to Fed. R. App. P. 26.1 and 6th Circuit Rule 26.1, Appellees ABC

News, Inc., ABC News Interactive, Inc., and The Walt Disney Company make the

following disclosures:

   1. Is said party a subsidiary or affiliate of a publicly owned corporation? If yes,
      list below the identity of the parent corporation or affiliate and the
      relationship between it and the named party:

      ABC News, Inc. is an indirect subsidiary of The Walt Disney Company,
      which is a publicly held corporation.

      ABC News Interactive, Inc. is an indirect subsidiary of The Walt Disney
      Company, which is a publicly held corporation.

      The Walt Disney Company is a publicly held corporation.

   2. Is there a publicly owned corporation, not a party to the appeal, that has a
      financial interest in the outcome? If yes, list the identity of such corporation
      and the nature of the financial interest:

      No.



      Dated: December 23, 2022                  /s/ Nathan Siegel
                                                Attorney for Appellees ABC News,
                                                Inc., ABC News Interactive, Inc., and
                                                The Walt Disney Company




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      Pursuant to Fed. R. App. P. 26.1 and 6th Circuit Rule 26.1, Appellees

Gannett Co., Inc. and Gannett Satellite Information Network, LLC make the

following disclosures:

   1. Is said party a subsidiary or affiliate of a publicly owned corporation? If yes,
      list below the identity of the parent corporation or affiliate and the
      relationship between it and the named party:

      Gannett Co., Inc. is a publicly traded company (NYSE: GCI). It has no
      parent company. Black Rock and Vanguard, Inc. are entities with more than
      10% interest in Gannett, Co., Inc.

      Gannett Satellite Information Network, LLC is an indirect, wholly owned
      subsidiary of Gannett Co., Inc. which is a publicly traded company. Black
      Rock and Vanguard, Inc. are entities with more than 10% interest in
      Gannett, Co., Inc.


   2. Is there a publicly owned corporation, not a party to the appeal, that has a
      financial interest in the outcome? If yes, list the identity of such corporation
      and the nature of the financial interest:

      No.



      Dated: December 23, 2022                 /s/ Michael Abate
                                               Attorney for Appellees Gannett Co.,
                                               Inc. and Gannett Satellite Information
                                               Network, LLC




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      Pursuant to Fed. R. App. P. 26.1 and 6th Circuit Rule 26.1, Appellees

Rolling Stone, LLC and Penske Media Corporation make the following

disclosures:

   1. Is said party a subsidiary or affiliate of a publicly owned corporation? If yes,
      list below the identity of the parent corporation or affiliate and the
      relationship between it and the named party:

      No.

   2. Is there a publicly owned corporation, not a party to the appeal, that has a
      financial interest in the outcome? If yes, list the identity of such corporation
      and the nature of the financial interest:

      No.


      Dated: December 23, 2022                 /s/ Kevin Shook
                                               Attorney for Appellees Rolling Stone,
                                               LLC and Penske Media Corporation




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            STATEMENT IN SUPPORT OF ORAL ARGUMENT

      Pursuant to Fed. R. App. P. 34(a) and 6th Cir. R. 34(a), Appellees

respectfully request oral argument. Appellees believe oral argument will assist the

Court in resolving the issues raised by this appeal, as well as provide Appellees the

opportunity to respond to matters Appellant may present on reply.

                  COUNTERSTATEMENT OF THE ISSUES

      1.     Did the District Court correctly hold that a statement by Nathan

Phillips, as published within Appellees’ news publications, that Appellant Nicholas

Sandmann “blocked [Phillips’] way and wouldn’t allow [Phillips] to retreat” and

materially similar statements are protected opinion?

      2.     Did the District Court properly hold that the law of the case doctrine

did not preclude consideration of the opinion issue at summary judgment?

      3.     Should this Court affirm on the alternative ground that the challenged

statements are substantially true?

      4.     Should this Court affirm on the alternative ground that the challenged

statements in the context of Appellees’ news publications are not capable of a

defamatory meaning?

      5.     Should this Court affirm on the alternative ground that Sandmann’s

complaints are time-barred?




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                           STATEMENT OF THE CASE

      Over three years ago, a tense encounter between Plaintiff-Appellant

Nicholas Sandmann and Nathan Phillips at the Lincoln Memorial became the

subject of wide public attention and controversy. Numerous news organizations,

including the Appellees, published articles and broadcasts about the controversy.

As one of multiple perspectives that news reports provided on the incident, many

quoted a statement originally made by Phillips to The Washington Post, that

Sandmann “blocked” his way and “wouldn’t allow [him] to retreat” (the “Blocking

Statements”), as well as materially similar statements he made to other news

organizations (e.g., that Sandmann “positioned himself” in a way that “sort of

stopped [Phillips’] exit”).

      When Sandmann sued The Washington Post, the District Court originally

granted a motion to dismiss holding the Blocking Statements were non-actionable

opinion, because in context they reflected Phillips’ subjective perspective on a

chaotic incident.    But at Sandmann’s urging, the District Court revised that

decision to permit Sandmann to take discovery on the circumstances of the

encounter before considering the issue again on summary judgment.             After

reviewing the resulting record two years later in these suits against Appellees, the




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District Court properly concluded the challenged statements were indeed non-

actionable opinion.1

       In this appeal, Sandmann claims that the District Court applied the wrong

legal standards to the opinion issue, the Blocking Statements are factual, and the

law of the case doctrine precluded consideration of the issue. To the contrary, the

District Court correctly applied the governing law. It is Sandmann’s proposed

“legal standard” that contravenes well-settled defamation principles.         And

Sandmann’s law of the case argument wholly lacks merit, especially since the

District Court deferred final consideration of the opinion issue to the summary

judgment stage at Sandmann’s request.

       While this Court need not reach any other issue, this Court may also affirm

the judgment on three alternative grounds. First, the challenged statements are

substantially true because the undisputed facts show that the “gist” or “sting” of

those statements – that Sandmann deliberately stood in Phillips’ way to obstruct

his path – is accurate. Second, when read in context, the challenged statements are

not defamatory. Third, Sandmann’s complaints are time-barred.

   1
     As the District Court noted, while some publications contain statements by
Phillips that “differ slightly” from the Blocking Statements made to the Post, “the
parties apply the same analysis to these statements.” Op., N.Y. Times, RE 81,
PageID#2345 n.10. As the parties and the Court did below, the analysis and
arguments in this joint response brief with respect to the Blocking Statements
apply to all reports at issue in this appeal, which include the materially similar
statements.


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I.    PROCEDURAL AND FACTUAL HISTORY

      Because Sandmann’s brief omits much of the relevant history, this joint

response brief sets forth below a more complete summary of the procedural and

factual history of these cases.

      A.     The Procedural History Prior to Discovery

      The first procedural events relevant to these cases actually took place before

any of the Appellees were named as defendants.           Sandmann filed his first

defamation lawsuit against The Washington Post in March 2019, Sandmann v. WP

Company LLC (“Post”), No. 2:19-cv-19 (E.D. Ky. 2019), followed shortly

thereafter by similar suits against CNN and NBC. See Sandmann v. CNN, No.

2:19-cv-31 (E.D. Ky. 2019); Sandmann v. NBC, No. 2:19-cv-56 (E.D. Ky. 2019).

The District Court first addressed the Post case and initially granted the

newspaper’s motion to dismiss. Post, 401 F. Supp. 3d 781 (E.D. Ky. 2019). The

Court addressed the numerous statements at issue in several Post articles and found

each non-actionable on several grounds. Id. at 792.

      Sandmann then moved for reconsideration of that ruling and for leave to file

an Amended Complaint. Post, RE 49, PageID#481-704. His motion focused on

the following quotation from Nathan Phillips in the first article the Post had

published about the incident on January 19, 2019, which the parties and the District

Court subsequently referred to as “the Blocking Statements”:



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      It was getting ugly, and I was thinking: “I’ve got to find myself an
      exit out of this situation and finish my song at the Lincoln Memorial,”
      Phillips recalled. “I started going that way, and that guy in the hat
      stood in my way and we were at an impasse. He just blocked my way
      and wouldn’t allow me to retreat.

      Post, 401 F. Supp. 3d at 792. In its initial dismissal order, the District Court

had found that those statements were non-actionable opinion. Id. at 792-93.

      In seeking reconsideration, Sandmann argued that the District Court’s

resolution of the opinion issue at the pleadings stage was at best premature because

his complaint and, in more detail, his proposed amended complaint, alleged that

the Blocking Statements were deliberate lies, not subjective perceptions.

Specifically, Sandmann’s proposed amended complaint alleged that Phillips and

some unidentified group of “activist companions” had planned and then executed a

scheme to instigate a confrontation with a white, MAGA-hat wearing supporter of

then-President Trump, capture it on video, and then deceptively edit it to post on

social media in the hope it would go “viral” and embarrass President Trump and

his supporters. Post, RE 49-2, PageID#517. Sandmann alleged that Phillips had

been accompanied by his “cameraman,” and that after the encounter was over,

Phillips and his “companions” allegedly “celebrated” accomplishing that goal by

several statements that could be heard on various videos, such as one person saying

“I got him.” Id. at PageID#519-520, 544.




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      Sandmann’s counsel emphasized that in light of those enhanced allegations,

it was premature for the Court to resolve the opinion issue at the Rule 12 stage

because:

      One of the reasons that we believe this case has to go beyond motion
      to dismiss is because it needs a fully developed factual record.
      Because under defamation law, Your Honor, you just don’t see a term
      and go, that’s opinion. You have to look at the factual circumstances
      to determine whether the speaker -- in this instance, Mr. Phillips --
      was expressing an opinion or whether Mr. Phillips was expressing a
      factual narrative.

Post, RE 60, PageID#828. Sandmann’s counsel also criticized the District Court

for trying to draw inferences only from videos, rather than from sworn testimony

from the persons involved. Id. (“Your Honor is trying to look at these various

videos to figure out what was Phillips saying. The problem is, the only way to

answer that question is to depose Mr. Phillips.”).

      Those arguments helped persuade the District Court to grant partial

reconsideration in the Post case, limited specifically to the Blocking Statements.

The District Court’s order noted that Sandmann’s proposed amended complaint

“ma[de] specific allegations concerning the state of mind of Phillips” and alleged

“that Phillips deliberately lied” about the events. Post, Op., RE 64, PageID#861.

The District Court thus determined “that ‘justice requires’ that discovery be had

regarding these statements and their context. The Court will then consider them




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anew on summary judgment.” Id. The District Court entered companion rulings in

Sandmann’s lawsuits against CNN and NBC.2

       Sandmann then sued five more media defendants – the Appellees – in

separate cases on March 2, 2020. Most of the publications at issue in those

additional lawsuits included the same Blocking Statements from The Washington

Post (including articles from The New York Times, ABC, Gannett, and Rolling

Stone), while the CBS report contained a materially similar statement by Phillips

that Sandmann “just positioned himself to make sure that he [Sandmann] aligned

himself with me so that he [Sandmann] sort of stopped my [Phillips’] exit.”). See

CBS, Compl., RE 1, PageID#43, 46. The Court denied motions to dismiss filed by

each Appellee, holding that its rulings in the Post case applied equally to

Sandmann’s additional lawsuits.3

       The prospect of litigating claims against a half-dozen media defendants that

had published about twenty news reports presented practical challenges for all

parties. So “in the interest of judicial economy,” the parties agreed to narrow and

bifurcate both discovery and summary judgment practice. N.Y. Times, RE 36,



   2
   CNN, RE 43, PageID#596-598; NBC, RE 43, PageID#753-756. The Post,
CNN, and NBC each eventually settled.
   3
     N.Y. Times, RE 27, PageID#222-227; CBS, RE 34, PageID#272-277; ABC,
RE 336, PageID#314-319; Gannett, RE 39, PageID#746-752; Rolling Stone, RE
35, PageID#275-280.


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PageID#276.4 Specifically, the parties agreed that the case would be divided into

two phases. Phase 1 would be limited to “the facts pertaining to the encounter”

between Sandmann and Phillips, specifically “whether Nathan Phillips’ statements

that Plaintiff ‘blocked’ him or ‘prevented him from retreating’ (the “Blocking

Statements”) are true or substantially true, or otherwise not actionable based on the

undisputed facts developed during initial discovery and the issues defined in the

Court’s prior decisions.” Id.

       However, once discovery commenced, Sandmann did not take any

depositions of anyone who had been at the scene, as he had told the District Court

it was essential that he do. Appellees, however, took Sandmann’s deposition and

submitted detailed, sworn declarations from Phillips and almost all the alleged

“activist companions” Sandmann claimed were involved in a pre-meditated

conspiracy. The resulting record is summarized below.

       B.    The Factual Record

                   The Conflicts With a Few Black Hebrew Israelites that
                   Preceded the Incident Between Sandmann and Phillips

       The incident that gives rise to this appeal occurred on January 18, 2019, in

the vicinity of the Lincoln Memorial, shortly after two, unrelated political

   4
     For ease of reference, like Sandmann’s opening brief, except where expressly
indicated, this joint response brief primarily cites to the docket entry numbers (RE)
and PageID numbers of documents filed in the New York Times case. For parallel
references to these documents as filed in the other four cases, see the Designation
of Relevant Documents in the Addendum to this brief.


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demonstrations had been held in Washington, D.C. One of them, the March for

Life, was attended by a couple of hundred students from Covington Catholic High

School (“CovCath”), including Sandmann. The other, the Indigenous Peoples

March, was attended by several hundred people, including Phillips. Dep. Tr. of

Nicholas Sandmann (“S.D.”), RE 74-1, PageID#2123, 2126; see, e.g., Phillips

Decl., RE 53-2, PageID#724; Video 4 at 05:38.5 The cultural backgrounds and

perspectives of many of those attending the respective events were quite different,

and were reflected in the conflicting perceptions of events that some of them would

later articulate to the news media.

       That same afternoon, a group of five or six men, who call themselves Black

Hebrew Israelites (the “BHI”), was standing in the vicinity of the Lincoln

Memorial and proselytizing. Video 4 at 00:00-00:11. In the course of doing so,

the BHI hurled invective at many nearby onlookers, including the Indigenous

Peoples March participants. See, e.g., Video 4 at 00:14-00:30, 34:33-34:57, 37:22-

37:27. Most of those participants just ignored the BHI’s insults, and a few sought




   5
       The parties stipulated below to the authenticity of 20 videos and
conventionally filed them in each of the five cases below identified with a number
(Video 1, Video 2, etc.). For purposes of the record on appeal and pursuant to 6th
Cir. I.O.P. 10(d), four USB flash drives with those conventionally filed videos
were mailed to this Court’s Records Room along with a cover letter explaining
their contents. The rest of this brief cites to the Videos simply by their number
(Video 1, Video 2, etc.).


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to reason peacefully with them. E.g., Phillips Decl., RE 53-2, PageID#724; Tee

Decl., RE 53-6, PageID#759-760.

      About thirty minutes later, the BHI turned their ire towards a large group of

CovCath students who had gathered on the steps leading to the Memorial to wait

for buses to take them home. E.g., Video 4 at 1:07:37-1:08:08; S.D., RE 74-1,

PageID#2126-2127. The CovCath students responded to the BHI quite differently

than some of the Indigenous Peoples March participants had. Several students

requested and received permission from a chaperone to try to “drown out” the BHI

by using loud cheers intended for school sporting events, which were joined by the

more than 100 CovCath students gathered near the Memorial steps.             Id. at

PageID#2136, 2144. For example, one student removed his shirt and stood in front

of the crowd bare-chested, flexing his muscles while pumping his fists and

shouting, while the other students yelled, stomped on the ground, and faced the

five BHI members with their muscles flexed and fists clenched. Id. at

PageID#2121, 2138, 2144; see Video 4 at 1:09:48-1:10:20; Video 5 at 1:24-1:54.




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Video 5 at 1:54. As more students arrived, the crowd edged physically closer to

the BHI. Video 5 at 2:57-3:20; S.D., RE 74-1, PageID#2146.

      The interaction between the students and the BHI was perceived quite

differently by different people who witnessed it.     To Sandmann, the BHI’s

behavior was a “culture shock,” and he felt physically threatened and

“outmatched” by them, even though there were more than 100 teenagers and only a

half-dozen BHI. S.D., RE 74-1, PageID#2127, 2139. And Sandmann believes the

students responded appropriately and that it was “pretty obvious” they were

performing school cheers, id. at PageID#2138. Nonetheless, he acknowledges that

“maybe not” everyone in the area that day would have recognized all the shouting

as a school cheer and that “a person watching over 100 white teenage boys

responding to [the] BHI by yelling loudly, jumping up and down with clenched




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fists held toward them” could have perceived the students to be expressing hostility

and aggression towards the BHI. Id. at PageID#2138, 2144.6

       In fact, that was exactly how the students’ conduct was perceived by Phillips

and several other people who had attended the Indigenous Peoples March. For

example, Marcus Frejo, a musician from Oklahoma City, watched the escalating

confrontation between the students and the BHI with growing alarm. Frejo Decl.,

RE 53-5, PageID#751-752. He did not perceive the students to be doing school

cheers, but rather saw aggressive shouts and physical gestures that to him seemed

intended to taunt the BHI. Id. Another, Alvaro Andrade, from New Jersey, was

familiar with the BHI, having seen members on the streets of New York. Andrade

Decl., RE 53-3, PageID#734-735. But on the National Mall, he saw what looked

to him like a large group of white teenagers using shouts and clenched fists in a

face-off with a small number of BHI and thought the situation was on the verge of

detonating. Id. at PageID#735-736. See also Tee Decl., RE 53-6, PageID#760-

761.

                   Phillips Tries to Calm the Situation with Song and Prayer

       After the Indigenous Peoples March ended, Phillips remained in the area

because he was waiting to meet some friends to go to dinner. Phillips Decl., RE

       6
        At least one of Sandmann’s classmates declined to participate in the cheers
for that very reason. Brockett Decl., RE 53-8, PageID#772-773; RE 53-9,
PageID# 777, 779-780.



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53-2, PageID#724. Phillips can be seen on videos standing by himself in different

places around the Lincoln Memorial. Video 4 at 50:52-50:54; 57:16-57:19. He

was also watching the escalating tension between the teenagers and the BHI.

Phillips Decl., RE 53-2, PageID#725. Phillips did not perceive a group of students

engaged in school cheers, but rather a large and growing group of white teenagers

screaming and seeming to act physically aggressive towards a much smaller

number of BHI.      He feared the situation would erupt into violence.        Id. at

PageID#725-726.

      As the confrontation seemed to grow more tense, Phillips voiced his

concerns to others standing nearby.       Andrade, whom Phillips did not know,

suggested to Phillips that he drum and sing to try to calm the situation. Andrade is

a musician, who believes that song has the power to calm tense situations and

thought that Phillips, as an elder, would be a natural person to try to defuse the

growing tension. Andrade Decl., RE 53-3, PageID#735-736.

      Phillips’ heritage had likewise taught him that song and prayer can bring

healing to people who feel anger and hatred, so he decided to follow the

suggestion. Phillips Decl., RE 53-2, PageID#726-727. Phillips borrowed a drum

from another musician whom Phillips did not know but was also standing nearby,

named Anthony Tee, and began singing the American Indian Movement (“AIM”)

song, a traditional Native song that expresses unity and can be used as a prayer.



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Tee Decl., RE 53-6, PageID#761-762; Phillips Decl., RE 53-2, PageID#726.

Phillips initially sang by himself for more than a minute, standing off to the side at

some distance away from both the students and the BHI. Video 17 at 00:00-01:07;

Phillips Decl., RE 53-2, PageID#727.




Video 17 at 00:37.

      Frejo likewise believes that song and prayer have the power to restore calm

to tense situations.   Frejo Decl., RE 53-5, PageID#752-753.           Frejo did not

personally know Phillips, but recognized him from a demonstration at the Standing

Rock Indian Reservation several years earlier. Frejo observed Phillips singing

with Tee’s drum, and thought that was a positive response to the situation.

Because Phillips was an elder, Frejo wanted to support and join him, and so he

approached Phillips and told him he was going to sing alongside him. Id. at

PageID#753; Video 17 at 01:10-01:11.




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                   Phillips Approaches the CovCath Students

      Once Frejo joined him, Phillips spontaneously decided to walk up to stand in

front of the students, to place himself between them and the BHI. Phillips did not

ask anyone to join him or to record anything on camera. Phillips Decl., RE 53-2,

PageID#727, 731; Video 4 at 1:12:17-1:12:30; Video 17 at 1:28-1:32. Phillips

hoped that praying in front of the students would help calm the situation. Phillips

Decl., RE 53-2, PageID#727.      A few people who had been standing nearby

followed them, including Andrade and two others.        Andrade Decl., RE 53-3,

PageID#736.

      One was Ashley Bell, who came from Connecticut and had met Phillips at

Standing Rock. Bell Decl., RE 53-4, PageID#742. She had watched the escalating

confrontation and also perceived the students’ behavior to be aggressive and

provocative. Id. PageID#743-744. She understood Phillips’ song to be a peaceful

gesture, respected Phillips as her elder and followed him. Id. at 744-745. Another

who followed was Jon Stegenga, a freelance photojournalist from South Carolina

who was covering the March and wanted to continue documenting the day’s

events. Stegenga Decl., RE 53-7, PageID#766-767.

      When Phillips approached the students, he had hoped they would respond

with respect and decorum. Phillips Decl., RE 53-2, PageID#727-728. Instead,

many responded to him by dancing, hooting, and laughing. E.g., Video 5 at 4:23-



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5:10; Video 17 at 2:00-2:45. Some students raised and lowered their arms in a

“tomahawk chop” and yelled out the war-cries often seen at sports games

involving teams with Native American mascots. Video 2 at 00:24-00:33; Video 4

at 1:14:07-1:14:15; S.D., RE 74-1, PageID#2152-2153, 2167.




       Video 2 at 00:25.7 Phillips felt that behavior was mocking Native American

culture and himself. Phillips Decl., RE 53-2, PageID#727-728. So did a few

others who had followed behind him, and even one of the CovCath students. Frejo

Decl., RE 53-5, PageID#753-754; Andrade Decl., RE 53-3, PageID#736-737; Bell

Decl., RE 53-4, PageID#745; see also Stegenga Decl., RE 53-7, PageID#767-768;

Brockett Decl., RE 53-9, PageID#779. While Sandmann does not personally think

such behavior was disrespectful, S.D., RE 74-1, PageID#2152-2153, 2167, he

acknowledges that Phillips could have perceived the students’ behavior to be

mocking him. Id. at PageID#2154, 2167.

   7
    Sandmann acknowledges that other students in this screenshot were doing the
tomahawk chop, but maintains that he was not. S.D. RE 74-1, PageID#2167.


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      When Phillips first approached, the students were standing in a sort of half-

circle to his left and in front of him, so the area to his right and rear was largely

empty:




      Video 5 at 04:22. But over the course of the next minute or so, CovCath

students and other onlookers filled in the space around Phillips and the few others

who had initially joined him to sing the AIM song. Phillips Decl., RE 53-2,

PageID#728; Bell Decl., RE 53-4, PageID#745; Video 10 at 00:00-00:05. The

screenshot below is taken from video about 25 seconds before Phillips’ encounter

with Sandmann, showing Phillips (identified by the yellow circle) surrounded by

students and other onlookers he did not know:




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      Video 10 at 00:02; see also id. at 00:26-00:27; S.D., RE 74-1, PageID#2155-

2156, 2168.

                    Phillips Tries to Exit the Crowd and CovCath Students
                    Move Aside to Let Him Pass, but Sandmann Decides to
                    Send Phillips a Message by Standing in His Way

      Given the behavior and positioning of the crowd, Phillips’ unrebutted

testimony was that he became concerned for himself and the safety of the few

people who had first started singing with him. So he decided to try to exit the

situation. Phillips Decl., RE 53-2, PageID#728. He started looking around and

moving towards his right, but perceived there were people all around him and did

not see any way out that direction. Id.; Video 2 at 00:10-00:23; Video 10 at 00:00-

00:11. So as he would later explain in the Blocking Statements, Phillips decided to

try to exit the crowd by walking up to the Lincoln Memorial and finishing his song

there. Id.




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      When Phillips began to walk forward in that direction, there were multiple

rows of students standing between him and Sandmann, as can be seen on several

videos (Phillips and Sandmann are identified by the yellow circles):




Video 10 at 00:12; Video 17 at 02:29; see S.D., RE 74-1, PageID#2154-2155. But

as Phillips began moving forward, student after student moved to the side and out

of Phillips’ way, and he began walking through the open space the students created

towards the Lincoln Memorial. Phillips Decl., RE 53-2, PageID#728; Video 10 at

0:12-26; S.D., RE 74-1, PageID#2155; see Video 2 at 00:32-00:44; S.D., RE 74-1,

PageID#2168-2169; Video 8 at 00:00-00:15; S.D., RE 74-1, PageID#2171-2172;

Video 17 at 3:00-3:12, 3:29-3:42. As a result, for about 15 seconds Phillips made

steady progress in exiting the crowd. Video 10 at 00:12-00:26.




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      Sandmann recognized that students in front of him were moving out of

Phillips’ way and that Phillips was walking forward through the path they created

for him.   S.D., RE 74-1, PageID#2154.        However, Sandmann perceived that

Phillips was trying to intimidate the CovCath students by walking through the

crowd. Id. at PageID#2156-2157, 2158.

      So Sandmann decided that he was not going to follow his classmates’ lead

and move aside when Phillips reached where he was standing. Instead, as he

explained the next day in texts with a friend, he decided that he was going to

“stand up for the school” by remaining standing in Phillips’ path. Sandmann

thought that would send Phillips a message that CovCath students could not be

intimidated. S.D., RE 74-1, PageID#2156-2157 & Ex. E to Jt. Memorandum, RE

53-13, PageID#1048-1049 (Friend: “Can I ask what made you stand in front of the

Indian guy?” Sandmann: “The whole thing with the black people calling us things

and the guy moving through the crowd trying to intimidate us[.] [I]t just made me

want to stand up for the school.”).

      Sandmann said the same thing in direct messages on Twitter he sent to

Charlie Kirk and Kyle Kashuv, two prominent young conservatives, while riding

the bus back to Kentucky: “[m]embers of an indigenous people’s march

approached me (I was wearing a maga hat). The man played his drum in my face

but unlike others at my school i didn’t step out of the way because he was trying to



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intimidate us.” S.D., RE 74-1, PageID#2159-2160 & Exs. F-G to Jt. Memorandum,

RE 53-14, PageID#1051 & RE 53-15, PageID#1053.

      At his deposition, Sandmann elaborated:

            Q: . . . And how did you think that standing in front of Mr. Phillips
            was standing up for the school?

            A: Because we -- the students of the school had stood there
            long enough and taken all kinds of insults from the Hebrew
            Israelites, then had had the Native American -- or Mr. Phillips,
            the Native American, walk through us or whatever. And by the
            time he got in my face, when he could have kept -- he could
            have even kept going through the students if he wanted to, I
            figured it was time for someone to plant their foot and stand
            there where I had been and just face up. And to me, that was
            standing up for the school, because I wasn’t going to move.

                                          * * *

            Q: Your text also said: The whole thing with the black people
            calling us things. How did the black people calling us things
            relate to your deciding to stand in front of Mr. Phillips?

            A. Well, as I mentioned – [objection]. As I mentioned, we --
            we had already taken many insults from them. And at one point,
            I just felt like enough is enough, we don’t need to respond to
            them anymore with chants: Someone’s just got to stand here, be
            still and put their foot down.

S.D., RE 74-1, PageID#2158 & Ex. E, RE 53-13 at PageID#1048-1049.

      Videos confirm that “plant[ing] [his] foot and stand[ing] there” in front of

Phillips is exactly what Sandmann did. As the other students in front of Sandmann

were moving out of Phillips’ way, Sandmann moved over slightly to his left, set

his feet, and was “right in front of Nathan Phillips” when Phillips approached.



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S.D., RE 74-1, PageID#2176; Video 17 at 03:37-03:42 (looking down to adjust his

footing as he moved):




       Sandmann does not dispute that he moved over to his left just as Phillips was

approaching that spot, or that someone who was watching at the time could have

noticed that. He merely quibbles about exactly what distance he moved, stating

that he moved “six inches at the most.” S.D., RE 74-1, PageID#2176.8

                   Phillips Perceived that Sandmann Blocked Him

       From Phillips’ perspective, he had been moving forward as the students in

front of him were moving out of his way. As he was walking forward, Phillips saw

that one teenager alone (Sandmann) appeared to position himself to be directly in

front of him, stood in his way, and did not move. Multiple rows of students

standing behind Sandmann also moved to the side, but Sandmann still did not.

Video 2 at 00:44-01:05; S.D., RE 74-1, PageID#2169-2170, 2172. Below are

screenshots of the crowd behind Sandmann. The picture on the left is just before

   8
      Sandmann also acknowledges that moments earlier, as Phillips was moving
through the crowd, Sandmann “may have” moved to his right. S.D., RE 74-1,
PageID#2175; Video 17 at 03:07-03:12; see also S.D., RE 74-1, PageID#2166;
Video 2 at 00:07-00:10.


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Phillips reached where Sandmann (identified with the yellow circles) stood, and

the one on the right is about 15 seconds later after the four rows of students

immediately behind Sandmann had moved aside:




      Video 8 at 0:14, 0:31.       It appeared to Phillips that Sandmann alone

intentionally did that to prevent him from continuing to walk forward and did not

want to let him pass. Phillips Decl., RE 53-2, PageID#728-729. Believing they

were at an impasse, Phillips stood in place and continued singing. Id. Frejo, Bell,

Andrade, and Stegenga also perceived that Sandmann blocked Phillips. Frejo

Decl., RE 53-5, PageID#754; Bell Decl., RE 53-4, PageID#745; Andrade Decl.,

RE 53-3, PageID#737; see also Stegenga Decl., RE 53-7, PageID#768. And

Sandmann also felt the two were at an impasse from his vantage-point. S.D., RE

74-1, PageID#2180.

      Sandmann does not dispute that, based on observing Sandmann’s behavior,

Phillips could have perceived that Sandmann was intentionally blocking him:

      Q: Now, those -- the other students -- other students, right, parted for
      Phillips, correct, and you didn’t?



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      A: Hut-uhn.

      Q. Couldn’t Phillips have perceived that you intended to stop his path
      forward?

      ...

      A. He could have. I think he would have figured out really quickly, if he
      tried to move anywhere else, that I wasn’t going to follow them.

      Q. So you think you could have -- you think he could have figured that out,
         and we will talk about that, but would you acknowledge that he could
         have perceived that it was your intention to stop his path forward?

      A. Right.

Id. at PageID#2164; see also id. at PageID#2182, 2184.

      Sandmann also acknowledges there could be significant cultural differences

affecting how Phillips perceived Sandmann’s conduct:

      Q: [E]ven if a teenager thinks that an older person might be trying to
      intimidate them, you see that that person is walking forward and other
      people are parting for him, isn’t the respectful thing to do to move out of
      his way as well?

      A. Not if he’s trying to intimidate me.

      Q. . . . [E]ven if you think the older person is trying to intimidate you,
      you don’t think the respectful thing to do is to just move out of the
      way?

      A. I can’t see why I would. If -- if they want to intimidate me, which I
      would assume then means they exhibit a dislike of me, I can’t find any
      compelling reason as to why I would equally return the respect to
      clear a place for them to move.

                                       ****



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      Q. Do you have any idea what in the Native American culture would
      be considered the respectful thing to do in that situation?

      A. I would assume the respectful thing is probably to just move out of
      the way regardless.

      Q. But you disagree with that?

      A. Well, it’s not how I was raised.

Id. at PageID#2163.

                   Phillips and Sandmann Stand Face-to-Face While Both Feel
                   “Blocked”

      After Sandmann planted himself, the two remained in place for

approximately six minutes. Id. at PageID#2201. Phillips continued to drum and

sing. Video 8 at 00:27-00:33. As he did, voices from the crowd shouted taunts at

Phillips like “you can’t move him!” (Video 2 at 03:20-03:32; S.D., RE 74-1,

PageID#2178, 2194), “he ain’t moving!” (Video 2 at 01:18-01:22; S.D., RE 74-1,

PageID#2192), and “unmovable object!” (Video 2 at 01:22-01:29 S.D., RE 74-1,

PageID#2192).

      While Sandmann testified that he intentionally remained planted there, after

a couple of minutes had gone by, Sandmann too started to feel like he wanted to

exit the situation. S.D., RE 74-1, PageID#2160-2161, 2179. But he did not, in part

because by that point he too felt like he was “blocked.” Id. at PageID#2160-2161,

2179-2180, 2185 (“Q: …So you said you felt like you were being, at least at one




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point, at some point in the encounter, right, blocked by the crowd? A. Right.”).9

Sandmann felt blocked even though he thought that his classmates, who had by

that point surrounded both him and Phillips, would have made room for him if he

had asked them to move aside. Id. at PageID#2185.

       During those six minutes, more CovCath students mocked Phillips, shouting

insults like “Grab his d**k and twist it! and “beat that drum!”. Video 2 at 00:55-

01:03, Video 8 at 00:35-00:42, S.D., RE 74-1, PageID#2189-2191 (“grab his

d**ck and twist it”); Video 2 at 01:49-01:51, S.D., RE 74-1, PageID#2193 (“beat

that drum”). Sandmann does not dispute that those statements could be perceived

as mocking. S.D., RE 74-1, PageID#2191, 2193.

                   The Incident Ends

       Eventually a teacher told students the buses were arriving. Video 3 at 2:20-

2:37; S.D., RE 74-1, PageID#2201. Sandmann and other students then walked

away. Video 11 at 01:02-01:13. Since the teenagers were starting to leave,

Phillips no longer felt any need to exit and turned around to continue his prayer.

Phillips Decl., RE 53-2, PageID#729. About a minute later, Phillips too walked

away. Video 3 at 3:35-3:45.




   9
      A therapist who later interviewed Sandmann also noted that: “Nick recalled
that he could not move, as he was being blocked by the crowd.” Ex. L to Jt.
Memorandum, RE 53-20, PageID#1065.


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      While Sandmann had survived motions to dismiss in large part by alleging

that a handful of words or actions seen on videos shortly after the confrontation

ended was proof of a pre-planned scheme to capture a viral moment, the record

before the District Court on summary judgment was entirely to the contrary. For

example, the individual (Andrade) who Sandmann claimed was Phillips’ hand-

picked “cameraman” did not know Phillips, and was (like dozens of others present)

just recording video for himself and never posted it on social media. Andrade

Decl., RE 53-3, PageID#735-736.       When one person (Andrade) told another

(Frejo) that “I got him,” he was referring to Phillips, not Sandmann. Andrade was

assuring Frejo that he would stay with Phillips so that Phillips would not be left

alone after the incident, and Bell likewise said “We got Nate.” Frejo Decl., RE 53-

5, PageID#755; Andrade Decl., RE 53-3, PageID#738; Bell Decl., RE 53-4,

PageID#746; Video 3 at 02:43-02:55; Video 11 at 01:23-01:33 (Bell says “We got

Nate”).

      Similarly, Sandmann assumed that because Andrade can be heard calling

Phillips “Grandpa,” that meant the two were close. Video 3 at 3:21-3:24; S.D., RE

74-1, PageID#2200. In fact, the two did not know each other; Andrade said

“Grandpa” because addressing an elder person with a familial term can be a way to

express respect and endearment in some indigenous (and other) cultures. Andrade

Decl., RE 53-3, PageID#738; Phillips Decl., RE 53-2, PageID#730. And when



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Phillips held his drum up and turned around in a circle, he was not celebrating

capturing some viral moment, as Sandmann had alleged.           Rather, that was a

common ritual to end a prayer by symbolically sending it in all directions. Phillips

Decl., RE 53-2, PageID#730; Video 3 at 3:21-3:33.

      C.    Sandmann’s Putative “Expert”

      Just one week after Sandmann testified at his deposition that he had

intentionally “planted” himself in Phillips’ path and that Phillips could have

perceived that he blocked him, S.D., RE 74-1, PageID#2158, 2164, his counsel

retained Dr. Craige Roberts, a professor of linguistics, to provide “expert”

testimony. ABC, Roberts Dep. Tr., RE 78-2, PageID#1847-1848. Dr. Roberts then

wrote a report that purposefully excluded any consideration of Sandmann’s

deposition testimony, as well as any statement by Phillips or any other percipient

witness to the incident. Id. at PageID#1704-1705, 1708. Instead, Dr. Roberts

merely watched the Stipulated Videos and offered her own opinion about whether

it appeared to her that Sandmann had blocked Phillips. Id. at PageID#1825, 1833.

Even so, her conclusion was that the Blocking Statements and materially similar

statements reflected Phillips’ opinion about what had happened.              Id. at

PageID#1707, 1710, 1716. She merely disagreed with Phillips and thought that he

had misinterpreted what had occurred. Id. at PageID#1707, 1729, 1732.




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II.   THE DISTRICT COURT’S DECISION

      On July 26, 2022, the District Court granted Appellees’ motions for

summary judgment. Op., RE 81, PageID#2331-2351. The court addressed the

Blocking Statements that had been originally published by the Post, and noted that,

consistent with the parties’ positions, the same analysis applied to other similar

statements, like that by Phillips to CBS. Id. at PageID#2345; id. at n.10 (noting

that while some of the statements published in some of Appellees’ articles “differ

slightly,” “the parties apply the same analysis to these statements”).       After

considering the discovery record, the District Court concluded they were non-

actionable opinion, and thus entered judgement as to all of Sandmann’s defamation

claims against all Appellees.

      While Appellees also moved for summary judgment on the alternative

grounds that the challenged statements were not materially false, and were not

defamatory, the Court did not reach either issue. In addition, Sandmann filed a

cross-motion for partial summary judgment on the issue of substantial truth, and

each of the Appellees filed a Daubert motion to strike Dr. Roberts’ testimony.

Motion to Strike, RE 64, PageID#1471-1816. The District Court denied both

motions as mooted by its summary judgment decision. Op., RE 81, PageID#2349.

      On October 12, 2022, this Court consolidated the five pending appeals for

purposes of briefing.   Pursuant to this Court’s consolidation order, Appellees



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jointly submit this brief, and are also each submitting individual briefs that discuss

their respective specific publications.

                           SUMMARY OF ARGUMENT

      This Court should affirm the challenged statements are non-actionable

opinion. As both constitutional and Kentucky law require, the District Court

properly considered the imprecise and subjective nature of the words at issue, the

context in which they were spoken and published, and whether they implied any

undisclosed, defamatory facts. Sandmann misstates well-settled defamation law

when he argues that: (1) the fact-opinion issue be reserved for the jury in this case;

(2) any fact-finding by the District Court precludes the challenged statements from

being opinion; and (3) statements describing sensory perceptions or using

transitive verbs to describe real events are always factual.

      Nor did the law of the case doctrine preclude the District Court from

resolving the opinion issue at summary judgment. That doctrine does not apply to

the summary judgment stage of a case where the pleadings have been

supplemented with discovery, nor was there any “law of the case” at that point

because the District Court did not resolve the opinion issue at the pleadings stage.

      In addition, this Court may affirm the judgment below on any of three

alternative grounds, each of which was raised below. The challenged statements

are not actionable because they are substantially true and are not reasonably



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capable of a defamatory meaning. Moreover, Sandmann’s claims are barred by

Kentucky’s statute of limitations.

                           STANDARD OF REVIEW

      This Court reviews “a grant of summary judgment de novo, applying the

same test as used by the district court.” Compuware Corp. v. Moody’s Inv’rs.

Servs., Inc., 499 F.3d 520, 525 (6th Cir. 2007) (citation omitted). Additionally, in

cases implicating the First Amendment, “an appellate court has an obligation to

make an independent examination of the whole record in order to make sure that

the judgment does not constitute a forbidden intrusion on the field of free

expression.”   Seaton v. TripAdvisor LLC, 728 F.3d 592, 596 (6th Cir. 2013)

(quoting Milkovich v. Lorain Journal Co., 497 U.S. 1, 17 (1990)). A lower court’s

application of the law of the case doctrine is reviewed under an “abuse of

discretion standard.” Rouse v. DaimlerChrysler Corp., 300 F.3d 711, 715 (6th Cir.

2002).

                                     ARGUMENT

I.    THE DISTRICT COURT CORRECTLY HELD THAT THE
      BLOCKING STATEMENTS ARE NON-ACTIONABLE OPINION

      Sandmann first claims that the District Court applied the wrong legal

standard governing the fact/opinion distinction. Br., PageID#22-26, 33. He then

claims, for several reasons, that the Blocking Statements are inherently factual.

Sandmann is mistaken on all counts.


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      A.     The District Court Applied the Correct Legal Standard

      While Sandmann’s brief sets forth its own version of the law, it never makes

clear what purportedly incorrect “legal standard” the District Court applied.

Instead, it largely dismisses the District Court’s reasoning as holding that the

Blocking Statements were “constitutionally protected opinion, simpliciter.”

Br.,PageID#34. That is not an accurate characterization of the District Court’s

analysis. To set the record straight, this brief will first show that the District Court

applied well-established defamation law and then demonstrate why Sandmann’s

description of the applicable legal standard is mistaken.

                    The Opinion Doctrine Applied by the District Court Was
                    Correct

      The District Court considered “whether a reasonable reader, in reading the

entire article, would understand that the statement in question is someone’s opinion

or interpretation of an event or situation.” Op., RE 81, PageID#2344. There is

nothing novel or controversial about that standard. See, e.g., Croce v. Sanders, 843

F. App’x 710, 714 (6th Cir. 2021) (“These considerations turn on “the reasonable

reader’s perception of the statement—not on the perception of the publisher.”

(citation omitted); Seaton, 728 F.3d at 599 (“Readers would, instead, understand

the list to be communicating subjective opinions of travelers who use

TripAdvisor.”).




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      To answer that question, the District Court first considered whether a

person’s statement that another is “blocking” them is by its nature subjective and

imprecise, and therefore not readily verifiable. The propriety of that inquiry is

well-settled. See, e.g., Edelstein v. Gmoser, No. 21-3292, 2022 WL 4372200, at *2

(6th Cir. Aug. 29, 2022) (statement not objectively verifiable where it is

“subjective” and “standardless”); Holsapple v. Cunningham, 817 F. App’x 95,

109 (6th Cir. 2020) (remarks that were “contingent . . . on subjective evaluation”

protected as opinion); Seaman v. Musselman, No. 2002-CA-001269, 2003 WL

21512489     (Ky.    Ct.    App.    July    3,   2003)    (statements      that   are

“quintessentially subjective and impl[y] no allegations of an undisclosed fact” are

non-actionable opinion).

      Next, the Court assessed “the style of writing and [] context” in which the

Blocking Statements were made by Phillips and then published by the Appellees.

Op., RE 81, PageID#2348. That inquiry is likewise required by both the First

Amendment and Kentucky law. See, e.g., Seaton, 728 F.3d at 597 (courts should

assess “the general tenor of [an] article”) (quoting Milkovich, 497 U.S. at 21);

Garrett v. Tandy Corp., 295 F.3d 94, 104, 106 (1st Cir. 2002) (the fact-opinion

inquiry may include “the identity of the speaker, the identity of the audience, the

circumstances in which the statement is made, what else is said in the course of the

conversation, and a myriad of other considerations”); Yancey v. Hamilton, 786



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S.W.2d 854, 857 (Ky. 1989) (in assessing whether a statement is protected opinion,

courts must consider “the whole context of its publication”); Hays v. Clear

Channel Commc’ns, Inc., No. 2005-CA-001490-MR, 2006 WL 3109132, at *4

(Ky. Ct. App. Nov. 3, 2006) (“tenor and tone” of publication did not support

defamation finding).

         Finally, the District Court concluded that Phillips’ statements did not imply

any undisclosed, defamatory facts. Op., RE 81, PageID#2349. That too is an

essential element of the opinion inquiry. Milkovich, 497 U.S. at 18-19; Yancey,

786 S.W.2d at 857. In fact, contrary to Sandmann’s argument that the District

Court ignored Kentucky law’s treatment of Section 566 of the Restatement

(Second) of Torts (Br., PageID#33-35), the Restatement requires that the Court

address that question. Yancey, 786 S.W. 2d at 857; Restatement (Second) of Torts,

§ 566.

         In short, the District Court applied the correct legal standard.

                      Sandmann’s Version of the Applicable Legal Standard Is
                      Erroneous

                      a.     The Opinion Inquiry Does Not Present a Potential
                             Jury Question

         Although initially Sandmann acknowledges that “[w]hether a statement

constitutes protected opinion or fact is a question of law for the court to decide,”

Br., PageID#23, his characterization of the “legal standard” is to the contrary. He



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argues that whether a statement is fact or opinion can itself be a “factual question”

that more often than not is reserved for the jury. Br., PageID#25. The court’s only

role, Sandmann maintains, is to identify those relatively few statements that could

not be “sufficiently factual” for the jury to make that determination.           Br.,

PageID#23.

      Sandmann is mistaken. Rather, “[w]hether a statement is fact or opinion is a

question of law for the court to decide” – period. Croce, 843 F. App’x at 713; see

also Cromity v. Meiners, 494 S.W.3d 499, 504 (Ky. Ct. App. 2015)(“Whether a

statement qualifies for protection under the constitutional pure opinion privilege is

a legal question to be decided by the court, not a question for the jury.”). To be

sure, in deciding that question of law a court must assess whether a statement is

“capable of being proved objectively incorrect,” Clark v. Viacom Int’l, Inc., 617 F.

App’x 495, 508 (6th Cir. 2015) (citing Milkovich, 497 U.S. at 20), or otherwise

“connotes actual, objectively verifiable facts,” Compuware, 499 F.3d at 529. Here,

the District Court did just that.     Op., RE 81, PageID#2346-2348.          And as

previously discussed, to reach that determination, the District Court properly

evaluated both the nature and context of the Blocking Statements.




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                   b.      The District Court Properly Considered the Very
                           Factual Record Sandmann Argued Was Necessary to
                           Resolve the Opinion Issue

      Sandmann also argues that because the District Court made some factual

findings related to the underlying incident, that somehow precludes the conclusion

that Phillips’ expression of his subjective interpretation of Sandmann’s conduct is

opinion. Br., PageID#23. In effect, Sandmann argues that if it is possible to draw

any factual conclusions about any aspect of an event, then nothing about a person’s

subjective perception of that event could be opinion. Id. at PageID#22-23. That is

not the law.    To the contrary, opinion cases routinely involve a speaker’s

assessment of underlying facts. See, e.g., Compuware, 499 F.3d at 522, 529 (credit

ratings are opinion even though dependent on “several objective factors” and even

if “fact-based inferences” could be drawn from the rating).

      And while Sandmann points to this Court’s recent decision in Croce v.

Sanders to try to support his position, Croce is to the contrary. There, this Court

held that several of the defendant’s statements about the plaintiff’s research and

published findings, including statements that the plaintiff had “knowingly

engag[ed] in scientific misconduct and fraud,” were, in context, opinion because

they reflected “subjective assessment[s]” of objective facts about plaintiff’s body

of research. 843 F. App’x at 714-15. Moreover, this Court found that speech is

protected opinion “where reasonable readers would see that there is ample room



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for interpretation of the evidence” or where the statement can be subject to

“genuine disagreement.” Id. at 716. Here too, as each Appellee sets forth in the

individual supplemental briefs, the challenged statements were published within

contexts that conveyed a disagreement regarding what had transpired, including

whether anyone was “blocked” (or “sort of stopped”) in the course of a confusing

and chaotic environment.

         Moreover, there is considerable irony in Sandmann’s current critique of the

District Court’s reasoning. Sandmann now argues the District Court erred by

considering the very factual record that Sandmann had insisted was essential to

resolve the opinion inquiry. See, e.g., Post, RE 60, PageID#828 (“You just don’t

see a term and go, that’s opinion. You have to look at the factual circumstances to

determine whether the speaker -- in this instance, Mr. Phillips -- was expressing an

opinion or whether Mr. Phillips was expressing a factual narrative.”). The District

Court’s findings about undisputed facts related to the incident (none of which

Sandmann actually takes issue with) were thus largely responding to Sandmann’s

theory that the Blocking Statements were not genuine opinions, but rather

deliberate lies that were part of a pre-hatched scheme to create and launch a viral

video.

         The point of many of the undisputed facts the District Court noted was that

they all refuted that theory, which was never based on anything other than pure



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speculation. For example, the District Court found that Phillips did not know any

of the supposed “companions,” there was no prior planning, and the incident was

impromptu. Op., RE 81, PageID#2338-2339. Other facts the Court noted also

support the conclusion that Phillips (as well as Sandmann) were each expressing

their genuine perceptions about whether each was (or was not) being blocked. For

instance, the Court found that Phillips was moving forward through the crowd at

the moment in question, other students moved out of his way, and Sandmann

adjusted his footing just as Phillips approached. Id. at PageID#2338-2340. It also

found that neither Phillips nor Sandmann changed their position once standing

face-to-face, five other eyewitnesses perceived Sandmann to be blocking Phillips,

and Sandmann also felt that he was blocked. Id. at PageID#2337-2340. Tellingly,

the basic theory Sandmann advanced to survive the pleadings stage is now scarcely

evident in his brief, apart from occasional rhetoric speculating that Phillips

somehow set out to instigate a confrontation with Sandmann. Br., PageID#11, 13.

But “conclusory allegations, speculation, and unsubstantiated assertions are not

evidence, and are not enough to defeat a well-supported motion for summary

judgment.” Gooden v. City of Memphis Police Dep’t, 67 F. App’x 893, 895 (6th

Cir. 2003).

      It has always been Appellees’ position that Sandmann’s claims of a

conspiratorial ambush were legally irrelevant. Even if Phillips’ opinions had been



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made “maliciously or insincerely,” they would still be protected as opinion. See

Hammer v. City of Osage Beach, 318 F.3d 832, 842 (8th Cir. 2003). But it was not

necessary for the District Court (nor this Court) to address that point, because the

very factual record Sandmann had insisted was necessary to resolve the fact-

opinion distinction supported the District Court’s initial determination that the

Blocking Statements were non-actionable opinion. Post, RE 47, PageID#459-463.

That the results of discovery may not have been to Sandmann’s liking is no basis to

construct a “legal standard” that is premised on ignoring that undisputed record.

        Finally, while in the court below, Sandmann’s 60 pages of summary

judgment opposition briefs never mentioned the words “sliding,” “to the right,” “to

the left,” or any other statement by Phillips other than the Blocking Statements to

the Post, as a new argument on appeal his brief to this Court leads with those

words and repeats them more than two dozen times. E.g., Br., PageID#9, 13, 16,

18. The District Court properly treated Phillips’ statements to CBS, including the

words about sliding, as materially similar to the Blocking Statements just as

Sandmann did. RE81 at PageID#2345 n. 10. But even if Sandmann had taken a

different position below, it would make no difference because Phillips’ words to

CBS likewise express his perception that Sandmann was intending to stop his path

forward and are equally supported by the record.10


   10
        Sandmann admitted that he moved, or at least “adjusted his footing” as

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                   c.      The Opinion Doctrine Does Not Exclude Sensory
                           Perceptions or Transitive Verbs

       Sandmann also offers several rules for courts to follow in applying his

proposed legal standard that are likewise contradicted by well-settled defamation

law.

       First, Sandmann maintains that “a statement about the physical world, taken

directly from our sensory perception of it,” is always a statement of fact. Br.,

PageID#28. At the outset, that assertion ignores that the Blocking Statements were

not merely “about the physical world.” Rather, as the District Court found, they

also reflected Phillips’ perceptions of Sandmann’s state of mind. Op., RE 81,

PageID#2347.

       In any event, Sandmann’s claim defies common sense. For example, if a

person remarks “it is cold,” the fact that others may have different tolerance levels

for temperature does not render that statement provably false.         Thus, courts

regularly hold that sensory observations of physical events can be expressed as

opinions, including the perception that a person was “blocked.”             See, e.g.,

Macineirghe v. Cty. of Suffolk, No. 13-CV-1512 (ADS) (SIL), 2015 WL 4459456,

Phillips’ approached, but just quibbled with how much. S.D., RE 74-1,
PageID#2176 (“I moved six inches at the most.”). And after reviewing video of the
few seconds when he and Phillips first came face-to-face, Sandmann
acknowledged it was “possible” that Phillips’ movements indicated that Phillips
“was trying to see if [Sandmann] would move out of his way” and that Phillips
could have “perceived that [Sandmann] intended to stop his path forward.” S.D.,
RE 74-1, PageID#2164, 2172.


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at *14 (E.D.N.Y. July 21, 2015) (statement that plaintiff “blocked” defendant’s

exit was opinion); Cromity, 494 S.W.3d at 504 (defendant’s characterization of a

policeman’s conduct during traffic stop was protected opinion).

        Finally, Sandmann maintains that statements using “transitive verbs” are, by

definition, assertions of fact. Br., PageID#36-37. But a host of cases have found

statements involving transitive verbs to be protected opinion.11       For all these

reasons, the District Court applied the correct legal standards to the fact-opinion

inquiry.

        B.    The District Court’s Conclusion That the Blocking Statements
              Are Non-Actionable Opinion Was Correct

        After applying the proper legal standard, the District Court found that the

Blocking Statements are “objectively unverifiable” in their context and thus non-

actionable opinion because a “reasonable reader would understand that Phillips

was simply conveying his view of the situation.” Op., RE 81, PageID#2346. That

conclusion was correct.


   11
       See Greenbelt Co-op. Publ’g Ass’n v. Bresler, 398 U.S. 6, 14, 21 (1970)
(accusation that someone “committed blackmail” was opinion); Hogan v. Winder,
762 F.3d 1096, 1108 (10th Cir. 2014) (“accusations of extortion”); Jenkins v.
Snyder, No. 00CV2150, 2001 WL 755818, at *5 (E.D. Va. Feb. 6, 2001)
(statement that groundskeepers were “trying to kill someone with their crappy
fields”); Biber v. Duplicator Sales & Serv., Inc., 155 S.W.3d 732, 737 (Ky. Ct.
App. 2004) (statement that company president “felt like he had been conned by the
world’s greatest con man”); Franklin v. Dynamic Details, Inc., 116 Cal. App. 4th
375, 389 (2004) (statements that plaintiff “stole” copyrighted material and
“plagiarized” data).


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                    “Blocking” Is an Imprecise, Subjective Term

      First, the District Court correctly observed that the term “blocking” in

general is a subjective and “imprecise term capable of different meanings” that is

not readily verifiable. Id. As a matter of common sense, if one person facing

another says “You are in my way” and the other responds “No I am not,” neither

statement is likely to be provably false.

      Moreover, Sandmann’s own statements about the encounter reinforce the

subjectivity of Phillips’ statement. In Sandmann’s first public statement after the

incident, he responded to Phillips by saying “I never felt like I was blocking the

Native American protestor,” which underscores that the situation was a matter of

perspective.   Ex. M to Jt. Memorandum, RE 53-21, PageID#1068 (emphasis

added). And at his deposition, Sandmann reiterated that although he did not “feel”

like he was blocking Phillips, he now recognizes that Phillips “could have”

perceived that Sandmann “intended to stop [Phillips’] path forward.” S.D., RE 74-

1, PageID#2164.       Finally, the subjectivity of Phillips’ statement is further

illustrated by Sandmann’s perception that a few minutes into the standoff, the rest

of the crowd, including Phillips, was blocking him. Id. at PageID#2185. Someone

else watching the same events might disagree that Sandmann was being blocked by

his own friends and classmates, while others might disagree that Sandmann was




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blocking Phillips, but that only further highlights how feeling “blocked” in those

moments was a matter of subjective impression, not a provable fact.

      Sandmann largely caricatures the District Court’s reasoning, claiming that it

reflects an “epistemology” that any person’s statement about their sensory

perception of the physical world constitutes a non-actionable opinion.            Br.,

PageID# 27-28. But the District Court held nothing of the kind. For example,

while Phillips’ and Sandmann’s expression of their perceptions that each was

“blocked” were both non-actionable opinions, that does not suggest that all other

statements either one made about the incident – e.g., that Sandmann wore a red hat,

or that Phillips held a drum – were therefore opinions.           Sandmann’s other

arguments about the word “blocking” all follow from his claims that all transitive

verbs, or any statement about the “physical movement of an observable object”

based on “sensory data,” are inherently factual. Id. at PageID#18, 29-30, 36-37.

For all the reasons previously discussed, those arguments lack merit.

      Finally, Sandmann never explains how the only other case to consider

whether the word “blocked” expressed an opinion, Macineirghe v. County of

Suffolk, can be reconciled with his theories.      2015 WL 4459456 at *14.         In

Macineirghe, the statement that the first plaintiff “blocked” a police officer’s squad

car from following the second plaintiff was also supported by factual findings

about several sensory observations: the second plaintiff ran away from the police



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officers; police officers indicated that they were going to chase him; the defendant

got into his squad car; and the first plaintiff fell on the ground near the squad car

before it could be started. Id. And just as in this case, other bystanders could have

observed the same events and genuinely disagreed that someone was “blocked”

because the term is imprecise and not verifiable. See also Blessing v. Cable News

Network, Inc., No. 2:20-CV-0015, 2020 WL 7647530, at *6-7 (E.D. Ky. Dec. 23,

2020) (Phillips’ statement that the teens “swarmed around him” were “inherently

subjective and not provably false”).

                   The Context in Which the Blocking Statements Were Made
                   and Published Supports That They Are Opinion

      The District Court next assessed the context in which the challenged

statements were made and published, as it was required to do. Bd. of Forensic

Document Exam’rs, Inc. v. ABA, 922 F.3d 827, 832 (7th Cir. 2019) (“Context is

key, as it matters not only what was said, but who said it, where it was said, and

the broader setting of the challenged statements.”). The District Court properly

concluded that, as presented in Appellees’ publications, reasonable readers would

recognize “that Phillips was simply giving his perspective on the incident.” Op.,

RE 81, PageID#2348-2349. Appellees’ individual response briefs address their

various publications in more detail, but to the extent that Sandmann broadly

suggests that opinion statements can only be found on the editorial page and not in

“reportage describing completed events,” he is mistaken. Br., PageID# 20-21.


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See, e.g., Brokers’ Choice of Am., Inc. v. NBC Universal, Inc., 861 F.3d 1081,

1137 (10th Cir. 2017); Riley v. Harr, 292 F.3d 282, 291-92 (1st Cir. 2002);

Underwager v. Channel 9 Australia, 69 F.3d 361, 366-67 (9th Cir. 1995). To hold

otherwise would leave “no room for expressions of opinion by commentators,

experts in a field, figures closely involved in a public controversy, or others whose

perspectives might be of interest to the public.” Partington v. Bugliosi, 56 F.3d

1147, 1154 (9th Cir. 1995) (emphasis added).

        The District Court also explained how the context of the underlying events

reported made it apparent that Phillips was expressing his subjective assumptions

about Sandmann’s intentions. See, e.g., Riley, 292 F.3d at 291-92; Haynes v.

Alfred A. Knopf, Inc., 8 F.3d 1222 (7th Cir. 1993). The court noted that neither

ever spoke to the other. Op., RE 81, PageID#2347 n.11.12 It also noted that the

incident occurred in a “large, open area adjacent to the Lincoln Memorial.” Op.,

RE 81, PageID#2346. In that type of setting, whether one person is “blocking”

another is even more likely to reflect subjective perceptions about each person’s



   12
      The same may be said about Sandmann’s perceptions of Phillips’ intentions
at the time. For example, Sandmann’s first public statement said that “perhaps a
group of adults was trying to provoke a group of teenagers into a larger conflict”
and “it was clear to me that he [Phillips] had singled me out for a confrontation.”
Ex. M to Jt. Memorandum, RE 53-21, PageID#1067-1068. Had Phillips also filed
defamation suits against the Appellees for including Sandmann’s statements,
which many of their news reports did, Phillips’ claims would likewise properly be
dismissed as challenging the non-actionable opinions of Sandmann.


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intended movements, and Sandmann does not really take issue with that point.

Rather, his only response is to question whether all readers would know that the

Lincoln Memorial is wider than the Jefferson Memorial. Br., PageID#31. In

reality, both settings are quite expansive, and as Appellees’ supplemental briefs

explain, the publications at issue were replete with videos, pictures, and links that

showed where the incident took place.

       Sandmann further suggests that the Blocking Statements are necessarily

“verifiable” because the incident was captured on video (Br., PageID#19-20), but

that position has no basis in either law or logic. Video might help others form their

own views about an event, but it does not transform the participants’ expression of

their contemporaneous, subjective perceptions into statements of fact. In fact,

courts have held statements to be non-actionable opinion that were based entirely

on watching videos of others’ conduct. See, e.g., Doe #1 v. Syracuse Univ., 468 F.

Supp. 3d 489, 512 (N.D.N.Y. 2020) (university chancellor’s “characterization” of

conduct shown on videos as “racist” and “homophobic” was protected opinion);

Friendship Empowerment & Econ. Dev. v. WALB-TV, No. 1:04-CV-132(CDL),

2006 WL 1285037, at *5 (M.D. Ga. May 10, 2006) (differing views about whether

surveillance video that was aired in a newscast showed conduct that was child

abuse were non-actionable opinions).       And as the District Court found, any




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objective facts that may be gleaned from the videos here support the conclusion

that the Blocking Statements expressed Phillips’ opinion.13

        Sandmann also points to examples of cases from other jurisdictions holding

to be factual statements that he contends were “far more subjective than blocking.”

Br., PageID#32-33.     To the contrary, those cases merely underscore why the

District Court properly evaluated the Blocking Statements in context. Because the

opinion inquiry is dependent on context, there are myriad examples in which the

identical word or phrase has been found to be either fact or opinion, depending on

the nature of the word, the circumstances in which it was uttered, and other

contextual factors. Thus, every one of Sandmann’s examples has also been held to

be a statement of opinion in other contexts. Compare Milkovich, 497 U.S. at 19

(statement that plaintiff was a “liar” held to be statement of fact), with Cromity, 494

S.W.3d at 504 (statement that plaintiff was “an out and out liar” held to be non-




   13
      Sandmann also cites several cases stating that when there is a “conflict”
between video evidence and witness narratives, the court must consider the
evidence in the light of videotape. Br.,PageID#19. That is of course so, but
neither below nor in his brief does Sandmann point to any material inconsistencies
between the actual testimony of any eyewitness and any actual video. Indeed, his
counsel made this very point in the Post case when he told the District Court that it
should not “look at these various videos to figure out what was Phillips saying,”
because “the only way to answer that question is to depose Mr. Phillips.” Post, RE
60, PageID#828.


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actionable opinion).14 Moreover, unlike here, in the cases Sandmann cites, the

particular words he quotes were found to be actionable because they were allegedly

premised on other disclosed or implied defamatory facts. See, e.g., Milkovich, 497

U.S. at 19 (statement that defendant “lied” implied undisclosed, defamatory facts);

Tech Plus Inc. v. Ansel, 793 N.E.2d 1256, 1266 (Mass. App. Ct. 2003) (statement

that plaintiff was “anti-Semitic” was reliant on defamatory facts).

        Finally, Sandmann also briefly points to the review of videos by his

proffered linguistics expert, Dr. Craige Roberts. Br., PageID#32. While Dr.

Roberts’ testimony was inadmissible for the reasons Appellees explained to the

District Court, see Memorandum of Law In Support of Mot. to Strike, RE 64-1,

PageID#1473-1505, even if this Court were to consider her views they would make

no difference. Dr. Roberts explained that the Blocking Statements can best be



   14
      See also Samuels v. Tschechtelin, 763 A.2d 209, 245 (Md. Ct. Spec. App.
2000) (statement that employee was terminated for “poor performance” was
statement of fact); Yates v. Iowa W. Racing Ass’n, 721 N.W.2d 762, 772 (Iowa
2006) (statement that contract was terminated due to “poor performance” was non-
actionable opinion); McCray v. Infused Sols., LLC, No. 4:14-cv-158, 2018 WL
2392507, at *8 (E.D. Va. May 25, 2018) (court assumed arguendo statement that an
“[e]mployee is extremely confrontational and exhibiting constant insubordinate
behavior” was a statement of fact); Glaze v. Marcus, 729 P.2d 342, 344 (Ariz. Ct.
App. 1986) (statement that employee’s behavior was “unprofessional, insubordinate
or abusive” was non-actionable opinion); Ansel, 793 N.E.2d at 1266 (statement that
plaintiff told “anti-Semitic jokes” was a statement of fact); Doe #1, 468 F. Supp. 3d
at 512 (characterization of students’ remarks as “anti-Semitic” was protected
opinion).



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characterized as Phillips’ opinion about what transpired; she just disagrees with

him. ABC, Roberts Dep. Tr., RE 64-2, PageID#1729-1732. More broadly, the

very fact that Sandmann has proffered an expert whose opinion is that she

disagrees with Phillips’ opinion reinforces the point that the Blocking Statements

are not actionable.

      Sandmann’s argument essentially boils down to one circular claim: the

Blocking Statements are fact because they are statements of fact. That conclusory

logic does not support reversal of the District Court’s decision.

                      The Blocking Statements Did Not Imply the Existence of
                      Any Undisclosed, Defamatory Facts

      Finally, the District Court held that the Blocking Statements “did not imply

the existence of any nondisclosed defamatory facts.” Op., RE 81, PageID#2349.

Sandmann does not challenge this aspect of the District Court’s holding, nor does

the record suggest any basis to do so.

II.   THE DISTRICT COURT CORRECTLY HELD THAT THE LAW OF
      THE CASE DOCTRINE DID NOT PRECLUDE CONSIDERATION
      OF THE OPINION ISSUE AT SUMMARY JUDGMENT

      Sandmann argues that the District Court disregarded the “law of the case

doctrine” and thereby abused its discretion by considering the opinion issue at

summary judgment. On its face, that argument fails as a matter of law. As the

District Court explained, even if it had decided the opinion issue at the pleadings

stage (which it did not, as discussed below), it would have been free to revisit it at


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summary judgment. The law of the case doctrine does not apply to “‘earlier

proceedings where a different legal standard governs,’ such as a ruling at the

pleading stage and subsequent summary judgment proceedings.” Op., RE 81,

PageID#2341 (quoting In re B & P Baird Holdings, Inc., 759 F. App’x 468, 477

(6th Cir. 2019)); see also McKenzie v. BellSouth Telecomms., Inc., 219 F.3d 508,

513 (6th Cir. 2000). And where, as here, “considerable discovery supplements the

pleadings,” the “law-of-the-case doctrine [is left] with no role to play.” Devlin v.

Kalm, 630 F. App’x 534, 539 (6th Cir. 2015) (per curiam) (emphasis added).

      Moreover, even in other contexts where the law of the case doctrine could

apply, it only applies to issues that were “actually decided.” Howe v. City of

Akron, 801 F.3d 718, 739 (6th Cir. 2015). But as the District Court noted in its

summary judgment decision, it did not resolve the opinion issue in its Rule 12

orders.   Rather, the District Court merely had held that the allegations of

Sandmann’s complaints “passed the ‘plausibility’ test,” and that after discovery,

“the actionability of the statements would be revisited on summary judgment.”

Op., RE 81, PageID#2341. Indeed, that is exactly what the District Court had

stated in its Rule 12 orders: that following discovery it would “consider them anew

[the Blocking Statements] on summary judgment.” Post, RE 64, PageID#861; see

also id. at PageID#862 (“Of course, these allegations will be subject to discovery

and summary judgment practice.       However, they do pass the requirement of



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‘plausibility.’”); CNN, RE 43, PageID#597 (“Naturally, following a sufficient

period for discovery, these issues will again be reviewed at the summary judgment

stage under a more stringent standard.”).

      Sandmann’s brief essentially accuses the District Court of misconstruing its

own rulings and asserts that it definitively held at the pleadings stage that the

Blocking Statements were statements of fact.       But even Sandmann implicitly

acknowledges that no order actually said that. So to try to support that argument

he plucks out words or phrases sprinkled throughout multiple Rule 12 and

discovery orders and argues they amount to an “implicit holding,” or one that may

be inferred by “necessary implication.” Br., PageID#42-43.

      But Sandmann puts words in the District Court’s orders that are not there.

For example, Sandmann cites the Washington Post Order for the proposition that

the Court “ordered the parties to conduct discovery on the truth or substantial truth

of the blocked/retreat statements.” Br., PageID#41. But the Order says nothing

remotely suggesting that discovery would be limited to that single issue. It merely

states that the amended complaint’s “allegations will be subject to discovery and

summary judgment practice.” Post, RE 64, PageID#862.

      Sandmann also points to the scheduling orders entered by the Magistrate

Judge as supposedly demonstrating that all parties and the District Court

“understood the fact/opinion issue as decided.” Br., PageID#43. But those orders



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are likewise to the contrary. The scheduling orders adopted the parties’ Joint Rule

26 Report, which provided that discovery and summary judgment motions in the

first phase of the case would address whether the Blocking Statements are “true or

substantially true, or otherwise not actionable based on the undisputed facts

developed during initial discovery and the issues defined in the Court’s prior

decisions.” RE 38, PageID#303-304 (emphasis added). Sandmann’s view would

render most of that Order superfluous.

        Finally, Sandmann argues that it would have made no sense for the District

Court to order discovery on the opinion issue because opinion is a “purely legal

question” that, as a categorical matter, could never benefit from discovery. Br.,

PageID#43. On its merits, that proposition of law is incorrect. Because the opinion

doctrine frequently requires consideration of the context of the statements at issue,

as well as facts that may be disclosed or implied, courts often resolve the issue at

the summary judgment stage, following discovery.15




   15
       See, e.g., Bentkowski v. Scene Mag., 637 F.3d 689, 696 (6th Cir. 2011)
(affirming summary judgment that statements were protected opinion); Loftus v.
Nazari, 21 F. Supp. 3d 849, 853 (E.D. Ky. 2014) (holding on summary judgment
that statements were protected opinion); Nat’l Coll. of Ky., Inc. v. WAVE Holdings,
LLC, 536 S.W.3d 218, 226 (Ky. Ct. App. 2017) (affirming summary judgment that
statements were protected opinion); Williams v. Blackwell, 487 S.W.3d 451, 455
(Ky. Ct. App.), as modified (Mar. 4, 2016) (same); Cromity, 494 S.W.3d at 504
(same).


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       Sandmann’s arguments are especially wanting because it was Sandmann

who argued to the District Court that the opinion issue should not be resolved

without discovery, and the District Court ordered discovery primarily because it

concluded that “justice requires” that Sandmann be afforded that opportunity.

Then, having survived the pleadings stage by making incendiary allegations and

demanding the right to prove them through depositions, Sandmann pointedly chose

to avoid deposing anyone and instead retained an “expert” to also avoid the facts

and just watch videos. While Sandmann may have the right to change his litigation

strategy, he is not free to try to make it appear that it was the District Court, rather

than himself, that changed its mind.

       Thus, the District Court did not abuse its discretion in resolving the opinion

issue at summary judgment.

III.   ALTERNATIVELY, THIS COURT SHOULD AFFIRM BECAUSE
       THE BLOCKING STATEMENTS ARE SUBSTANTIALLY TRUE

       Even if this Court were to conclude the Blocking Statements are statements

of fact rather than opinion, this Court should affirm the District Court’s decision on

the alternative ground that the Blocking Statements are substantially true.

Although the District Court did not reach the element of material falsity (or

defamatory meaning, see infra Part IV), both issues were fully briefed at summary

judgment and so this Court may affirm on either ground. See Golf Vill. N., LLC v.

City of Powell, 14 F.4th 611, 617 (6th Cir. 2021).


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      A.     The First Amendment Places the Burden on Sandmann to Show
             That the Blocking Statements Were Materially False.

      While state defamation law typically places the burden on the defendant to

prove truth, the First Amendment requires that every defamation plaintiff has the

burden of proving that speech of public concern is materially false, regardless of

whether a plaintiff is a public or private figure. Clark, 617 F. App’x at 508.

      Here there is no question the Appellees’ publications were speech of public

concern. Post, 401 F. Supp. 3d at 789. And as this Court has noted, “[i]f the truth

or falsity of public commentary cannot be determined, the First Amendment

requires that the scales be “tip[ped] . . . in favor of protecting true speech.” Clark,

617 F. App’x at 508 (quoting Philadelphia Newspapers, Inc. v. Hepps, 475 U.S.

767, 776 (1986)). Thus, summary judgment is required where a plaintiff “fail[s] to

demonstrate a genuine issue as to the material falsity of any of the alleged

defamatory statements.” Bennett v. Cisco Sys., Inc., 63 F. App’x 202, 207 (6th Cir.

2003).

      Importantly, a statement need not be literally true for the defendant to

prevail. Rather, the test for substantial truth is whether “the substance, the gist, the

sting, of the libelous charge be justified.” Estepp v. Johnson Cty. Newspapers,

Inc., 578 S.W.3d 740, 744 (Ky. Ct. App. 2019) (quoting Masson v. New Yorker

Magazine, Inc., 501 U.S. 496, 517 (1991)); see also Parry v. Mohawk Motors of

Mich., Inc., 236 F.3d 299, 312 (6th Cir. 2000) (same). Put another way, the


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statement is not considered materially false unless it “would have a different effect

on the mind of the reader from that which the pleaded truth would have produced.”

Masson, 501 U.S. at 517 (citation omitted).

      This is a “low threshold.” Susan B. Anthony List v. Driehaus, 779 F.3d 628,

633 (6th Cir. 2015). Thus, media defendants are “not to be held to the exact facts

or to the most minute details of the transactions that [they] report[].” Bell v.

Courier-Journal & Louisville Times Co., 402 S.W.2d 84, 87 (Ky. 1966). Courts,

including this one, have therefore regularly affirmed grants of summary judgment

to defendants so long as the gist of an allegedly defamatory statement was

substantially true, even with respect to statements that (unlike here) contained

actual, factual inaccuracies. See, e.g., Nichols v. Moore, 477 F.3d 396, 401 (6th

Cir. 2007) (statements that individual was arrested “in connection with” the

Oklahoma City bombing substantially true even though plaintiff was “never

arrested or charged” for criminal acts “directly related” to the bombing, but rather

charged in connection with an unrelated incident resulting from the investigation);

see also Nat’l Coll. of Ky., 536 S.W.3d at 218.

      Sandmann argued below that Kentucky law does not recognize the doctrine

of substantial truth, citing dicta in a single case, Kentucky Kingdom Amusement

Co. v. Belo Ky., Inc., which states that the concept only applies to circumstances




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involving “incidental information” and not “essential content.” 179 S.W.3d 785,

791-92 (Ky. 2005). Sandmann’s claim was incorrect, for either of two reasons.

      First, the First Amendment requires that a plaintiff prove material falsity.

Masson, 501 U.S. at 517; Brokers’ Choice, 861 F.3d at 1109–10 (“[T]he First

Amendment, as applied in New York Times, Gertz, Hepps, and Masson, requires

the plaintiff to prove material falsity, which is now accordingly an essential

element of a defamation claim.”); Haynes, 8 F.3d at 1228 (“The rule making

substantial truth a complete defense and the constitutional limitations on

defamation suits coincide.”); see also Wilson v. Scripps-Howard Broad. Co., 642

F.2d 371, 375 (6th Cir. 1981) .

      Second, Kentucky law is consistent with that constitutional standard.

Kentucky Kingdom involved a different and much narrower question—whether a

jury’s finding of falsity, following jury instructions that did not explicitly discuss

substantial truth—was “clearly erroneous.” 179 S.W.3d at 788-89, 791-92.           In

finding that it was not clearly erroneous, the court noted that Kentucky follows a

“barebones” approach to jury instructions and that the defendants had been free to

clarify the meaning of the falsity instruction in closing argument. Id. at 792. The

court further found no clear error because its own review of the facts confirmed the

statements were “fundamentally inaccurate” and it would not supplant the jury

verdict where it found the evidence supported it. Id. at 792, 799.



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       Notably, Kentucky Kingdom specifically distinguished a court’s role in

reviewing a jury verdict from the scenario presented in Bell v. Courier-Journal &

Louisville Times Co., which the court explained was “a holding on summary

judgment that the testimony of the plaintiff showed the truth of each item

published. The [Bell] court . . . characterized the truth as ‘at least substantially

true.’” Id. at 791. Consistent with that approach, since Kentucky Kingdom both

federal and Kentucky courts have granted summary judgment to defamation

defendants on the grounds that the gist of the challenged statement was not

materially false, even when the statement (unlike here) did contain factual

inaccuracies. See, e.g., Estepp, 578 S.W.3d at 742, 744-746 (statements that

plaintiff was removed from his position were substantially true, even though he

actually resigned); Nat’l Coll. of Ky., 536 S.W.3d at 218 (affirming summary

judgment because statements were substantially true).

       Sandmann also asserted below that substantial truth doctrine only applies to

metaphorical or figurative language.       Pl. Opp. to Defs. Mot. for Summary

Judgment, RE 61, PageID#1150. That claim flatly misstates the law. Courts

routinely apply the substantial truth doctrine where no figurative language is at

issue.16


16
  See, e.g., Nichols, 477 F.3d at 401 (statement that plaintiff was “arrested in
connection to the Oklahoma City bombing” substantially true); Simonson v. United
Press Int’l, Inc., 654 F.2d 478, 481 (7th Cir.1981) (substantially true to report

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      B.     Sandmann Cannot Meet His Burden of Showing a Genuine
             Dispute That the Blocking Statements Were Materially False

      At bottom, the gist and sting of the Blocking Statements is that a teenager

deliberately stood in the way of an older man to obstruct his path. The undisputed

record, including Sandmann’s own testimony, shows that is what happened. S.D.,

RE 74-1, PageID#2159-2160. When Phillips started walking in the direction of the

Lincoln Memorial, there were multiple rows of students between Phillips and

Sandmann.     Sandmann observed that Phillips was moving forward, that his

schoolmates were moving out of Phillips’ way, and that Phillips was walking

through the path they created for him. But Sandmann thought that by walking

through the students, Phillips was trying to intimidate them. So he decided that

“unlike others at my school,” he was not going to step out of Phillips’ way. Id.

      Rather, Sandmann thought it was “time for someone to plant their foot” and

“face up” to Phillips because “enough is enough,” and he wanted to send a pointed

message that the school would not be intimidated. Id. at PageID#2158. Because

the gist and sting of the Blocking Statements are consistent with Sandmann’s own

description of the incident, they cannot be considered materially false. Put another


person charged with rape when actually charged with second degree sexual
assault); Parry, 236 F.3d at 312 (characterization of driver as “immediately
disqualified” under drug tests substantially true though “refusal to test” would have
been more accurate); Estepp, 578 S.W.3d at 746 (substantially true that plaintiff
was “removed” from his employment).



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way, if instead of the Blocking Statements, Phillips had just used Sandmann’s own

words and said “I started going that way but the guy in the red hat figured it was

time for him to send me a message and stand up for the school by planting his foot,

standing there and facing [me] up,” that statement would not have had a materially

different effect on the average reader. If anything, the effect would likely have

been worse.

      In fact, the District Court’s decision should be affirmed even if the law

required (which it does not) that the Blocking Statements be literally true. As the

District Court noted, “block” means “‘to obstruct or close with obstacles.’” Post,

401 F. Supp. 3d at 792 (quoting Block, Oxford English Dictionary, OED (Oxford

Univ. Press 2019)).     Other definitions are materially the same.        See Block,

Merriam-Webster Dictionary, https://www.merriam-webster.com/dictionary/block

(to “block” is “to hinder the passage, progress, or accomplishment of by or as if by

interposing an obstruction”).

      Here, the undisputed facts show that Sandmann did “obstruct [Phillips] with

obstacles [himself],” and he did “hinder the passage [or] progress [of Phillips] . . .

by interposing an obstruction [himself].” As to “retreat,” that word need not

literally mean to move “backward” – it also means to “withdraw” or to “reced[e]

from a position or state attained,” or simply to “move away from a place[.]” See

Retreat,        Merriam-Webster            Dictionary,           https://www.merriam-



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webster.com/dictionary/retreat;    Retreat,     Oxford     Learner’s    Dictionaries,

https://www.oxfordlearnersdictionaries.com/us/definition/english/retreat_2. There

are no facts to create a genuine dispute over Phillips’ testimony that he was trying

to “move away from a place” when Sandmann decided to stand in his path.

      Sandmann’s deposition testimony showed that his dispute is not really with

the facts, but rather with both the common-sense gist and even some dictionary

definitions of the word “block.”     He maintained that deliberately standing in

Phillips’ way as he was walking forward was not “blocking” him. Rather, he

testified that in order to have been “blocked”: (1) Phillips would have needed to try

harder to circumvent the obstacle that Sandmann posed and test any possible

escape route, including some space that briefly opened up to Sandmann’s left 15

seconds after he had already planted himself in Phillips’ way; and (2) Sandmann

would in turn have needed to respond by matching each of Phillips’ movements to

choke off any attempt by Phillips to leave. S.D., RE 74-1, PageID#2184; Video 2

at 00:44, 00:53; see also id. at 00:32-01:34; Video 8 at 00:15-00:35.

      But Appellees need not establish the literal accuracy of the extreme and

idiosyncratic definition of “blocked” that Sandmann proffers. That is exactly the

approach the substantial truth doctrine rejects. See, e.g., Novotny v. Elsevier, 291

F. App’x 698, 706 (6th Cir. 2008) (statement that plaintiff was “sacked for fiddling

with expenses” was substantially true where the undisputed facts showed that she



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was “terminated for attempting to have subordinates submit expense reports so that

her supervisor would not review them”); Tannerite Sports, LLC v. NBC Universal

Media LLC, 135 F. Supp. 3d 219, 235 (S.D.N.Y. 2015) (court need not accept as

true a plaintiff’s “conclusory definitions”), aff’d, 864 F.3d 236 (2d Cir. 2017).

Indeed, it is striking that even before the substantial truth doctrine was developed,

the Kentucky Supreme Court affirmed a demurrer to a defamation claim largely on

the ground that the defendant’s statement that the plaintiff had “blocked” a county

from paying its debts was not materially different than using words like

“thwarted,” “impeded,” “hindered,” or “delayed.” Taxpayers’ League of Bell Cty.

v. Sun Publ’g Co., 75 S.W.2d 564, 566-67 (Ky. 1934)

      Put another way, neither defamation law nor common sense require that in

order to convey the point that Sandmann deliberately stood in his way, the then 64-

year-old Phillips had to behave like an NFL running back searching for some hole

in the line to try to out-maneuver a teenager on a flight of icy stairs. To the

contrary, the very fact that Sandmann maintains that to try to exit the situation

Phillips had to stop and then try to “go around” Sandmann, or seek out some other

escape route to evade him, confirms that Sandmann was deliberately “hindering

the progress of” Phillips by obstructing it – i.e., blocking him even by a standard of

literal truth. See S.D., RE 74-1, PageID#2183-2184. And it certainly establishes




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that the Blocking Statements are, at a minimum, not materially false. This Court

should therefore affirm on the alternative ground of substantial truth.

IV.   ALTERNATIVELY, THIS COURT SHOULD AFFIRM BECAUSE
      THE BLOCKING STATEMENTS ARE NOT DEFAMATORY

      Should this Court choose to reach any other issue, affirmance is also

warranted on the alternative ground that when read as a whole, each Appellee’s

reporting does not reasonably convey the defamatory meaning Sandmann alleges.

The specifics of each Appellee’s arguments on this point are addressed in their

respective individual briefs. In the interests of avoiding repetition in those briefs,

this joint brief sets out the relevant legal standards that apply to this Court’s

consideration of each Appellee’s specific reporting.

      Whether a challenged statement is capable of a defamatory meaning is a

question of law to be determined by the Court. Gahafer v. Ford Motor Co., 328

F.3d 859, 861 (6th Cir. 2003). Language is “defamatory” if it tends to “expose the

plaintiff to public hatred, ridicule, contempt or disgrace, or to induce an evil

opinion of him in the minds of right-thinking people . . . .” Id. (quoting Digest

Publ’g Co. v. Perry Publ’g Co., 284 S.W.2d 832, 834 (Ky. 1955)). This is not a

low bar: “[m]erely offensive or unpleasant statements” are not defamatory. Chapin

v. Knight Ridder, Inc., 993 F.2d 1087, 1092 (4th Cir. 1993).

      It is well-settled Kentucky law that to assess whether challenged statements

are capable of the defamatory meaning alleged by a plaintiff, a court must examine


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the statements in the context of the entire publication. See, e.g., McCall v. Courier-

Journal & Louisville Times Co., 623 S.W.2d 882, 884 (Ky. 1981) (court must

“analyze the article in its entirety and determine if its gist or sting is defamatory.”);

Chatterjee v. CBS Corp., No. 6:19-CV-212-REW, 2020 WL 592324, at *8 (E.D.

Ky. Feb. 6, 2020) (“As Kentucky law instructs, the Court assesses the language

within the overall published piece.”); Better Built Garages, Inc. v. Ky. New Era,

Inc., Nos. 2007-CA-001432-MR, 2007-CA-001754-MR, 2008 WL 4531037, at *2-

3 (Ky. Ct. App. Oct. 10, 2008) (“alleged defamatory publication should be

construed as a whole” and “the Court must analyze the publication in its entirety to

determine whether its gist or sting is defamatory”).

      For example, in Better Built Garages, the Kentucky Court of Appeals

considered several news reports about a creditor demolishing a residence that

included statements that were sharply critical of the creditor, including claiming

the creditor “maliciously destroyed everything.” 2007 WL 4531037, at *3. The

court emphasized that “[t]he alleged defamatory publication should be construed as

a whole” and “the Court must analyze the publication in its entirety to determine

whether its gist or sting is defamatory.” Id. at *2. After viewing each report as a

whole, the court held that none was defamatory.

      This Court’s decision in Croce v. New York Times Co., 930 F.3d 787 (6th

Cir. 2019), is particularly instructive. While Croce applied Ohio law, Ohio applies



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the same test as Kentucky for the issue relevant to this appeal: the court must

“read[ ] the statement in the context of the entire publication to determine whether

a reasonable reader would interpret it as defamatory.” Id. at 792-93. Applying that

test, this Court affirmed dismissal of a defamation claim arising out of a newspaper

article that reported on “years of ethics charges” against a cancer researcher. Id. at

794. This Court found that, read as a whole, the article did “not say that Dr. Croce

is guilty of any of these allegations and charges of scientific misconduct, nor does

the article suggest that these allegations are true.” Id. at 794. “In its full and

proper context, . . . the article reports newsworthy allegations with appropriate

qualifying language.” Id. at 795. Thus, “a reasonable reader would therefore

interpret the article as presenting two sides of this controversy,” and not as

defamatory. Id.

      Sandmann seemingly suggests that a court should not consider whether an

article as a whole conveys the alleged defamatory meaning because Kentucky law

does not recognize the neutral report privilege. Br., PageID#21 (“It does not

matter if the article, taken as a whole, appears ‘neutral.’”). Appellees agree that

Kentucky does not recognize that privilege, but the point is irrelevant.         If a

publication is not defamatory in the first instance, whether the neutral report or any

other privilege might protect it is immaterial. Hartwig v. Nat’l Broad. Co., 863 F.

Supp. 558, 563 (N.D. Ohio), aff’d, 76 F.3d 379 (6th Cir. 1996).



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V.    ALTERNATIVELY, THIS COURT SHOULD AFFIRM BECAUSE
      THE COMPLAINTS ARE BARRED BY THE KENTUCKY
      STATUTE OF LIMITATIONS

      This Court may also affirm the decision below because Sandmann filed out

of time. The limitations period expired in January 2020, a year after Appellees

published the reports, but Sandmann waited until March 2020 to file these

lawsuits. KRS 413.140(1)(d). Each of the Appellees filed motions to dismiss

arguing that Sandmann’s claims were time-barred, but the District Court disagreed.

E.g., RE 27, PageID#225-227. The District Court found that Sandmann, as a

minor, could take advantage of a tolling statute despite state court authority

holding otherwise. Appellees respectfully submit that controlling Kentucky law is

to the contrary.

      Normally, where a plaintiff is a minor when a cause of action accrues, a

claim “may be brought within the same number of years after the removal of the

disability,” i.e., upon reaching majority. KRS 413.170(1). However, the Kentucky

Court of Appeals has held that this provision does not apply to minor plaintiffs—

like Sandmann—who previously litigated their claims by next friend, thereby

demonstrating they suffered no disability. Tallman v. Elizabethtown, No. 2006-

CA-002542-MR, 2007 WL 3227599, at *3-4 (Ky. Ct. App. Nov. 2, 2007) (where

“children’s claims were [previously] prosecuted on their behalf by their mother,”

KRS 413.170(1) did not “toll[] the children’s claims”). The Kentucky Supreme



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Court declined to review that holding, and Tallman remains the rule in Kentucky.

Tallman v. Elizabethtown, 2008 Ky. LEXIS 620 (Ky. Ct. App. Sept. 10, 2008).

      The U.S. Supreme Court has long held that federal courts are “not free to

reject the state rule merely because it has not received the sanction of the highest

state court,” even if they think “the rule is unsound in principle.” West v. Am. Tel.

& Tel. Co., 311 U.S. 223, 236-37 (1940). Nor does “the procedural history of this

case” present any compelling reason to depart from Tallman. Tallman, 2007 WL

3227599, at *3-4.     To the contrary, both Tallman and these cases presented

situations in which a minor who was fully represented by next friends and counsel

filed a lawsuit (or here, three lawsuits), and then later sought to make purely

strategic use of the tolling statute by filing yet more lawsuits over the same

incident.

      Sandmann first filed in February 2019 by next friend, litigating the same

defamation claims against other media defendants. Yet, at no time within the

limitations period did he file against Appellees. Just as the minors in Tallman

could not aggressively litigate in federal court, and when presented with an adverse

result, file a new case in state court outside the limitations period, Sandmann

cannot aggressively litigate his claims against some defendants, and then, when

presented with a potentially beneficial result, sue still more defendants outside the

limitations period. In both cases the fundamental purpose of the tolling statute, to



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protect minors who cannot competently litigate, is not served by construing the

tolling statute to invite strategic gamesmanship. Because Tallman is on point and

there is no data that the Kentucky Supreme Court would disagree, the decision

below should be affirmed on this alternative basis.

                                 CONCLUSION

      For all the foregoing reasons, as well as the reasons set forth in the separate

briefs filed by each Appellee, Appellees respectfully request that this Court affirm

the judgments below.



Dated: December 23, 2022               Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE

      1.     This brief complies with the type-volume limitation set in the Court’s

October 12, 2022 order regarding consolidation and briefing schedule, because it

contains 14,939 words, excluding the parts of the brief exempted by Fed. R. App.

P. 32(f).

      2.     This brief complies with the typeface requirements of Fed. R. App.

P. 32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because it

has been prepared in a proportionally spaced typeface using Microsoft Word in 14-

point Times New Roman.


Dated: December 23, 2022
                                      /s/ Nathan Siegel
                                      Nathan Siegel




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                          CERTIFICATE OF SERVICE

     I hereby certify that on December 23, 2022, I electronically filed the

foregoing Joint Brief for Defendants-Appellees with the Court using the CM/ECF

system upon all counsel of record. All participants in the case are registered

CM/ECF users and will be served by the appellate CM/ECF system.


Dated: December 23, 2022
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                                   ADDENDUM:

     DESIGNATION OF RELEVANT DISTRICT COURT DOCUMENTS

                            Sandmann v. New York Times Co.
                      No. 22-5734, District Court No. 2:20-cv-23
     RE No.                          Description                     PageID#
1               Complaint                                         1-103
18              Defendant’s Motion to Dismiss                     134-161
25              Plaintiff’s Memorandum in Opposition to Motion to 172-198
                Dismiss
26              Defendant’s Reply in Support of Motion to Dismiss 199-209
27              Memorandum Opinion & Order Regarding Motion to 222-227
                Dismiss
36              Joint Report of Rule 26(f) Planning Meeting       275-282
38              Scheduling Order                                  302-305
48-49           Joint Stipulation Regarding Authenticity and      362-372
                Admissibility of Videos and Conventional Filing
52              Plaintiff’s Motion for Partial Summary Judgment   393-657
52-1            Memorandum in Support of Plaintiff’s Motion for   396-424
                Partial Summary Judgment
53              Defendant’s Motion for Summary Judgment           658-1092
53-1            Joint Memorandum in Support of Defendant’s Motion 660-721
                for Summary Judgment
53-2            Declaration of Nathan Phillips                    722-731
53-3            Declaration of Alvaro Andrade                     732-739
53-4            Declaration of Ashley Bell                        740-747
53-5            Declaration of Marcus Frejo                       748-756
53-6            Declaration of Anthony Tee                        757-763
53-7            Declaration of Jon Stegenga                       764-769
53-8, 53-9      Declaration of Samuel Brockett and Exhibit A      770-774
53-13           Exhibit E to Joint Memorandum in Support of       1047-1049
                Defendant’s Motion for Summary Judgment
53-14           Exhibit F to Joint Memorandum in Support of       1050-1051
                Defendant’s Motion for Summary Judgment
53-15           Exhibit G to Joint Memorandum in Support of       1052-1053
                Defendant’s Motion for Summary Judgment
53-20           Exhibit L to Joint Memorandum in Support of       1064-1065
                Defendant’s Motion for Summary Judgment


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53-21     Exhibit M to Joint Memorandum in Support of            1066-1069
          Defendant’s Motion for Summary Judgment
54        Supplemental Memorandum in Support of                  1072-1087
          Defendant’s Motion for Summary Judgment
54-1      Exhibit A to Supplemental Memorandum in Support 1088-1092
          of Defendant’s Motion for Summary Judgment
61        Plaintiff’s Memorandum in Opposition to Defendant’s 1101-1363
          Motion for Summary Judgment
62        Plaintiff’s Supplemental Memorandum in Opposition 1364-1378
          to Defendant’s Motion for Summary Judgment
63        Defendant’s Memorandum in Opposition to Plaintiff’s 1379-1470
          Motion for Partial Summary Judgment
64        Defendant’s Motion to Strike Report and Testimony 1471-1816
          of Craige Roberts
64-1      Memorandum in Support of Motion to Strike              1473-1505
64-2      Exhibit A to Defendant’s Motion to Strike –            1506-1786
          Deposition Transcript of Craige Roberts
64-3      Exhibit B to Defendant’s Motion to Strike – Report of 1787-1815
          Craige Roberts
68        Plaintiff’s Reply in Support of Plaintiff’s Motion for 1833-1850
          Partial Summary Judgment
69        Plaintiffs’ Memorandum in Opposition to Defendant’s 1905-2039
          Motion to Strike Report and Testimony of Craige
          Roberts
70        Defendant’s Joint Reply in Support of Motion for       2040-2080
          Summary Judgment
71        Defendant’s Supplemental Reply in Support of           2081-2086
          Motion for Summary Judgment
72        Defendant’s Reply in Support of Motion to Strike       2087-2110
          Report and Testimony of Craige Roberts
74        Notice of Filing – Deposition Transcript of Nicholas 2112-2113
          Sandmann
74-1      Deposition Transcript of Nicholas Sandmann             2114-2309
81        Memorandum Opinion & Order Regarding Motions 2331-2351
          for Summary Judgment and Motion to Strike
82        Judgment                                               2352
83        Notice of Appeal                                       2353-2354




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                           Sandmann v. CBS News, Inc. et al.
                      No. 22-5735, District Court No. 2:20-cv-24
     RE No.                          Description                     PageID#
1               Complaint                                         1-104
21              Defendants’ Motion to Dismiss                     164-202
31              Plaintiff’s Memorandum in Opposition to Motion to 222-248
                Dismiss
32              Defendants’ Reply in Support of Motion to Dismiss 249-265
34              Memorandum Opinion & Order Regarding Motion to 272-277
                Dismiss
42              Joint Report of Rule 26(f) Planning Meeting       384-391
44              Scheduling Order                                  411-414
54-55           Joint Stipulation Regarding Authenticity and      471-480
                Admissibility of Videos and Conventional Filing
58              Plaintiff’s Motion for Partial Summary Judgment   501-765
58-1            Memorandum in Support of Plaintiff’s Motion for   504-532
                Partial Summary Judgment
59              Defendants’ Motion for Summary Judgment           766-1216
59-1            Joint Memorandum in Support of Defendants’ Motion 769-830
                for Summary Judgment
59-2            Declaration of Nathan Phillips                    831-840
59-3            Declaration of Alvaro Andrade                     841-848
59-4            Declaration of Ashley Bell                        849-856
59-5            Declaration of Marcus Frejo                       857-865
59-6            Declaration of Anthony Tee                        866-872
59-7            Declaration of Jon Stegenga                       873-878
59-8, 59-9      Declaration of Samuel Brockett and Exhibit A      879-883
59-13           Exhibit E to Joint Memorandum in Support of       1156-1158
                Defendant’s Motion for Summary Judgment
59-14           Exhibit F to Joint Memorandum in Support of       1159-1160
                Defendant’s Motion for Summary Judgment
59-15           Exhibit G to Joint Memorandum in Support of       1161-1162
                Defendant’s Motion for Summary Judgment
59-20           Exhibit L to Joint Memorandum in Support of       1173-1174
                Defendant’s Motion for Summary Judgment
59-21           Exhibit M to Joint Memorandum in Support of       1175-1178
                Defendant’s Motion for Summary Judgment
60              Supplemental Memorandum in Support of             1180-1200
                Defendants’ Motion for Summary Judgment


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60-1     Exhibit A to Supplemental Memorandum in Support 1201-1203
         of Defendants’ Motion for Summary Judgment:
         Declaration of Helen D’Antona

60-2     Exhibit A-1 to Supplemental Memorandum in             1204-1207
         Support of Defendants’ Motion for Summary
         Judgment: CBS Online Article

60-3     Exhibit A-2 to Supplemental Memorandum in      1208
         Support of Defendants’ Motion for Summary
         Judgment: USB Flash Drive of CBS Video Segment
         (filed manually)

60-4     Exhibit B to Supplemental Memorandum in Support 1209-1216
         of Defendants’ Motion for Summary Judgment:
         Transcript of CBS Segment

69       Plaintiff’s Memorandum in Opposition to Defendants’ 1227-1489
         Motion for Summary Judgment
70       Plaintiff’s Supplemental Memorandum in Opposition 1490-1504
         to Defendants’ Motion for Summary Judgment
71       Defendants’ Memorandum in Opposition to Plaintiff’s 1505-1597
         Motion for Partial Summary Judgment
72       Defendants’ Motion to Strike Report and Testimony 1598-1944
         of Craige Roberts
72-1     Memorandum in Support of Motion to Strike              1601-1633
72-2     Exhibit A to Defendants’ Motion to Strike –            1634-1914
         Deposition Transcript of Craige Roberts
72-3     Exhibit A to Defendants’ Motion to Strike – Report of 1915-1943
         Craige Roberts
75       Plaintiff’s Reply in Support of Plaintiff’s Motion for 1956-2027
         Partial Summary Judgment
76       Plaintiffs’ Memorandum in Opposition to Defendants’ 2028-2162
         Motion to Strike Report and Testimony of Craige
         Roberts
79       Defendants’ Joint Reply in Support of Motion for       2216-2256
         Summary Judgment
80       Defendants’ Supplemental Reply in Support of           2257-2268
         Motion for Summary Judgment


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81       Defendants’ Reply in Support of Motion to Strike       2269-2292
         Report and Testimony of Craige Roberts
83       Notice of Filing – Deposition Transcript of Nicholas   2294-2295
         Sandmann
83-1     Deposition Transcript of Nicholas Sandmann             2296-2840
90       Memorandum Opinion & Order Regarding Motions           2862-2882
         for Summary Judgment and Motion to Strike
91       Judgment                                               2883
92       Notice of Appeal                                       2884-2885




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                           Sandmann v. ABC News, Inc., et al.
                      No. 22-5736, District Court No. 2:20-cv-25
     RE No.                          Description                     PageID#
1               Complaint                                         1-150
1-8             Ex. G to Complaint (ABC’s First Online Article)   94-101
1-9             Ex. H to Complaint (ABC’s Second Online Article) 102-107
1-10            Ex. I to Complaint (ABC’s Third Online Article)   108-112
1-11            Ex. J to Complaint (ABC’s Fourth Online Article)  113-117
16              Defendants’ Motion to Dismiss                     185-231
34              Plaintiff’s Memorandum in Opposition to Motion to 270-296
                Dismiss
35              Defendants’ Reply in Support of Motion to Dismiss 297-313
36              Memorandum Opinion & Order Regarding Motion to 314-319
                Dismiss
45              Joint Report of Rule 26(f) Planning Meeting       376-383
49              Scheduling Order                                  413-416
61-62           Joint Stipulation Regarding Authenticity and      474-483
                Admissibility of Videos and Conventional Filing
64              Plaintiff’s Motion for Partial Summary Judgment   494-758
64-1            Memorandum in Support of Plaintiff’s Motion for   497-525
                Partial Summary Judgment
65              Defendants’ Motion for Summary Judgment           759-1172
65-1            Joint Memorandum in Support of Defendants’ Motion 762-823
                for Summary Judgment
65-2            Declaration of Nathan Phillips                    824-833
65-3            Declaration of Alvaro Andrade                     834-841
65-4            Declaration of Ashley Bell                        842-849
65-5            Declaration of Marcus Frejo                       850-858
65-6            Declaration of Anthony Tee                        859-865
65-7            Declaration of Jon Stegenga                       866-871
65-8, 65-9      Declaration of Samuel Brockett and Exhibit A      872-879
65-13           Exhibit E to Joint Memorandum in Support of       1149-1151
                Defendant’s Motion for Summary Judgment
65-14           Exhibit F to Joint Memorandum in Support of       1152-1153
                Defendant’s Motion for Summary Judgment
65-15           Exhibit G to Joint Memorandum in Support of       1154-1155
                Defendant’s Motion for Summary Judgment
65-20           Exhibit L to Joint Memorandum in Support of       1166-1167
                Defendant’s Motion for Summary Judgment


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65-21     Exhibit M to Joint Memorandum in Support of            1168-1171
          Defendant’s Motion for Summary Judgment
66        Supplemental Memorandum in Support of                  1173-1192
          Defendants’ Motion for Summary Judgment
66-1      Declaration of Erik MacRobbie and Exhibits 1-A, 1- 1193-1195
          B, 1-C, 2-A, 2-B (Conventionally Filed)
66-2      Declaration of Tim Letbetter and Exhibits 3-A, 3-B, 1196-1198
          4-A, 4-B (Conventionally Filed)
66-3      Transcript of Exhibit 1-A (First GMA Story) to         1199-1201
          Declaration of Erik MacRobbie
66-4      Transcript of Exhibit 2-A (Second GMA Story) to        1202-1204
          Declaration of Erik MacRobbie
66-5      Transcript of Exhibit 3-A (ABC7 Story) to              1205-1207
          Declaration of Tim Letbetter
75        Plaintiff’s Memorandum in Opposition to Defendants’ 1218-1480
          Motion for Summary Judgment
76        Plaintiff’s Supplemental Memorandum in Opposition 1481-1495
          to Defendants’ Motion for Summary Judgment
77        Defendants’ Memorandum in Opposition to Plaintiff’s 1496-1588
          Motion for Partial Summary Judgment
78        Defendants’ Motion to Strike Report and Testimony 1589-1935
          of Craige Roberts
78-1      Memorandum in Support of Motion to Strike              1592-1624
78-2      Exhibit A to Defendants’ Motion to Strike –            1625-1905
          Deposition Transcript of Craige Roberts
78-3      Exhibit B to Defendants’ Motion to Strike – Report of 1906-1934
          Craige Roberts
81        Plaintiff’s Reply in Support of Plaintiff’s Motion for 1947-2018
          Partial Summary Judgment
82        Defendants’ Joint Reply in Support of Motion for       2019-2059
          Summary Judgment
83        Defendants’ Supplemental Reply in Support of           2060-2072
          Motion for Summary Judgment
84        Plaintiffs’ Memorandum in Opposition to Defendants’ 2073-2087
          Motion to Strike Report and Testimony of Craige
          Roberts
85        Defendants’ Reply in Support of Motion to Strike       2208-2231
          Report and Testimony of Craige Roberts
87        Notice of Filing – Deposition Transcript of Nicholas 2233-2234


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         Sandmann
87-1     Deposition Transcript of Nicholas Sandmann           2235-2779
94       Memorandum Opinion & Order Regarding Motions         2801-2821
         for Summary Judgment and Motion to Strike
95       Judgment                                             2822
96       Notice of Appeal                                     2823-2824




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                      No. 22-5738, District Court No. 2:20-cv-26
     RE No.                          Description                     PageID#
1               Complaint                                         1-184
32-1            First Amended Complaint                           285-354
32-13           Exhibit L to First Amended Complaint              445-451
36              Defendants’ Motion to Dismiss                     656-682
37              Plaintiff’s Memorandum in Opposition to Motion to 683-729
                Dismiss
38              Defendants’ Reply in Support of Motion to Dismiss 730-745
39              Memorandum Opinion & Order Regarding Motion to 746-752
                Dismiss
49              Joint Report of Rule 26(f) Planning Meeting       808-812
50              Scheduling Order                                  813-816
61-62           Joint Stipulation Regarding Authenticity and      880-889
                Admissibility of Videos and Conventional Filing
65              Plaintiff’s Motion for Partial Summary Judgment   908-1172
65-1            Memorandum in Support of Plaintiff’s Motion for   911-939
                Partial Summary Judgment
66              Defendants’ Motion for Summary Judgment           1173-1586
66-1            Joint Memorandum in Support of Defendants’ Motion 1176-1237
                for Summary Judgment
66-2            Declaration of Nathan Phillips                    1238-1247
66-3            Declaration of Alvaro Andrade                     1248-1255
66-4            Declaration of Ashley Bell                        1256-1263
66-5            Declaration of Marcus Frejo                       1264-1272
66-6            Declaration of Anthony Tee                        1273-1279
66-7            Declaration of Jon Stegenga                       1280-1285
66-8, 66-9      Declaration of Samuel Brockett and Exhibit A      1286-1299
66-10           Exhibit B to Joint Memorandum in Support of       1300-1559
                Defendant’s Motion for Summary Judgment
66-13           Exhibit E to Joint Memorandum in Support of       1563-1565
                Defendant’s Motion for Summary Judgment
66-14           Exhibit F to Joint Memorandum in Support of       1566-1567
                Defendant’s Motion for Summary Judgment
66-15           Exhibit G to Joint Memorandum in Support of       1568-1569
                Defendant’s Motion for Summary Judgment
66-20           Exhibit L to Joint Memorandum in Support of       1580-1581
                Defendant’s Motion for Summary Judgment


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66-21     Exhibit M to Joint Memorandum in Support of            1582-1585
          Defendant’s Motion for Summary Judgment
67        Supplemental Memorandum in Support of                  1587-1620
          Defendants’ Motion for Summary Judgment
67-1      Grygiel Declaration                                    1603-1620
75        Plaintiff’s Memorandum in Opposition to Defendants’ 1629-1891
          Motion for Summary Judgment
76        Plaintiff’s Supplemental Memorandum in Opposition 1892-1906
          to Defendants’ Motion for Summary Judgment
77        Defendants’ Memorandum in Opposition to Plaintiff’s 1907-1999
          Motion for Partial Summary Judgment
78        Defendants’ Motion to Strike Report and Testimony 2000-2346
          of Craige Roberts
78-1      Memorandum in Support of Motion to Strike              2003-2035
78-2      Exhibit A to Defendants’ Motion to Strike –            2036-2316
          Deposition Transcript of Craige Roberts
78-3      Exhibit B to Defendants’ Motion to Strike – Report of 2317-2345
          Craige Roberts
81        Plaintiff’s Reply in Support of Plaintiff’s Motion for 2358-2429
          Partial Summary Judgment
82        Plaintiffs’ Memorandum in Opposition to Defendants’ 2430-2564
          Motion to Strike Report and Testimony of Craige
          Roberts
83        Defendants’ Joint Reply in Support of Motion for       2565-2605
          Summary Judgment
84        Defendants’ Supplemental Reply in Support of           2606-2618
          Motion for Summary Judgment
86        Defendants’ Reply in Support of Motion to Strike       2632-2655
          Report and Testimony of Craige Roberts
88        Notice of Filing – Deposition Transcript of Nicholas 2657-2658
          Sandmann
88-1      Deposition Transcript of Nicholas Sandmann             2660-3204
95        Memorandum Opinion & Order Regarding Motions 3226-3246
          for Summary Judgment and Motion to Strike
96        Judgment                                               3247
97        Notice of Appeal                                       3248-3249




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                        Sandmann v. Rolling Stone, LLC, et al.
                     No. 22-5737, District Court No. 2:20-cv-27
     RE No.                         Description                     PageID#
1              Complaint                                         1-113
24             Defendants’ Motion to Dismiss                     173-213
33             Plaintiff’s Memorandum in Opposition to Motion to 230-256
               Dismiss
34             Defendants’ Reply in Support of Motion to Dismiss 257-274
35             Memorandum Opinion & Order Regarding Motion to 275-280
               Dismiss
43             Joint Report of Rule 26(f) Planning Meeting       341-348
45             Scheduling Order                                  368-371
56-57          Joint Stipulation Regarding Authenticity and      438-448
               Admissibility of Videos and Conventional Filing
59             Plaintiff’s Motion for Partial Summary Judgment   460-724
59-1           Memorandum in Support of Plaintiff’s Motion for   463-491
               Partial Summary Judgment
60             Defendants’ Motion for Summary Judgment           725-1132
60-1           Joint Memorandum in Support of Defendants’ Motion 728-789
               for Summary Judgment
60-2           Declaration of Nathan Phillips                    790-799
60-3           Declaration of Alvaro Andrade                     800-807
60-4           Declaration of Ashley Bell                        808-815
60-5           Declaration of Marcus Frejo                       816-824
60-6           Declaration of Anthony Tee                        825-831
60-7, 60-8     Declaration of Samuel Brockett and Exhibit A      832-845
60-12          Exhibit E to Joint Memorandum in Support of       1109-1111
               Defendant’s Motion for Summary Judgment
60-13          Exhibit F to Joint Memorandum in Support of       1112-1113
               Defendant’s Motion for Summary Judgment
60-14          Exhibit G to Joint Memorandum in Support of       1114-1115
               Defendant’s Motion for Summary Judgment
60-19          Exhibit L to Joint Memorandum in Support of       1126-1127
               Defendant’s Motion for Summary Judgment
60-20          Exhibit M to Joint Memorandum in Support of       1128-1131
               Defendant’s Motion for Summary Judgment
61             Supplemental Memorandum in Support of             1133-1197
               Defendants’ Motion for Summary Judgment
61-1           Exhibit A to Supplemental Memorandum in Support 1153-1159


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         of Defendants’ Motion for Summary Judgment,
         Declaration of Ryan Bort, including Rolling Stone
         Article
61-2     Exhibit B to Supplemental Memorandum in Support 1160-1197
         of Defendants’ Motion for Summary Judgment,
         Additional Excerpts of Deposition
         of Nicholas Sandmann
62-1     Declaration of Jon Stegenga in Support of           1201-1206
         Defendants’ Motion for Summary Judgment
69       Plaintiff’s Memorandum in Opposition to Defendants’ 1215-1477
         Motion for Summary Judgment
70       Plaintiff’s Supplemental Memorandum in Opposition 1478-1492
         to Defendants’ Motion for Summary Judgment
71       Defendants’ Memorandum in Opposition to Plaintiff’s 1493-1585
         Motion for Partial Summary Judgment
72       Defendants’ Motion to Strike Report and Testimony 1586-1932
         of Craige Roberts
72-1     Memorandum in Support of Motion to Strike           1589-1621

72-3     Exhibit B to Defendants’ Motion to Strike – Report of 1903-1931
         Craige Roberts
72-5     Exhibit A to Defendants’ Motion to Strike –            3374-3654
         Deposition Transcript of Craige Roberts
75       Plaintiff’s Reply in Support of Plaintiff’s Motion for 1944-2015
         Partial Summary Judgment
76       Plaintiffs’ Memorandum in Opposition to Defendants’ 2016-2150
         Motion to Strike Report and Testimony of Craige
         Roberts
77       Defendants’ Joint Reply in Support of Motion for       2151-2191
         Summary Judgment
78       Defendants’ Supplemental Reply in Support of           2192-2206
         Motion for Summary Judgment
79       Defendants’ Reply in Support of Motion to Strike       2207-2230
         Report and Testimony of Craige Roberts
81       Notice of Filing – Deposition Transcript of Nicholas 2232-2234
         Sandmann
81-2     Deposition Transcript of Nicholas Sandmann             2829-3373
88       Memorandum Opinion & Order Regarding Motions 2802-2822
         for Summary Judgment and Motion to Strike


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89     Judgment                                             2823
90     Notice of Appeal                                     2824-2825




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